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Exhibit K
PART 5
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OA-01 Senlor Full Service Partnerships

1.

Complete Exhibit 4 (as required under Section IV response). Using the
format found in Exhibit 4, please provide the following summary:

Please refer to Exhibit 4 above.

Please describe in detail the proposed program for which you are
requesting MHSA funding and how that program advances the goals of the
MHSA.

Older Adult Full Service Partnership Programs will provide a full complement of
services to older adults with serious mental illness who often have debilitating
physical conditions and lack daily social engagement, and will achieve seamless
coordination among the providers of those services. Older adult Full Service
Partnership programs will achieve the following transformation objectives:

* Improved partnerships and collaboration among mental health, medical
providers, substance abuse, senior service and housing providers,

* Decreased disparities through improved access for Latino, African American,
Asian and Native American clients.

* Decreased days in homelessness and institutional care (hospital, IMD,
residential treatment). a,

* Increased access to substance abuse treatment and reduction in substance
abuse relapse.

» Increased client satisfaction with service partnership and involvement of
family and primary peers and support network,

* Increased access to health care and improved management of health and
improved consumer management of medical conditions, medications, and
treatment.

e increased number of providers trained to work with older adults.

Describe any housing or employment services to be provided.

Safe stable housing, health services and meaningful daily activity are vital to
recovery for older adult mental health consumers. Thus providing independent or
congregate housing resources, health care and engagement in daily socialization
are central components of the FSP programs. Most of the individuals to be

Served in this FSP program will come from skilled nursing facilities, IMDs,

hospitals, or are at risk of homeless and are thus in need of housing with varying
levels of support. Each individual's specific needs will be considered and
participants will be placed in permanent, supported or independent housing
based on their preference and level of support needed. Linkages with existing in-
home services and day socialization programs are an integral part of services.
Clients will have the choice of multiple providers who serve a variety of cultures
and ethnicitles. For those whose recovery warrants, employment programs will
also be offerad.

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4, Please provide the average cost for each Full Service Partnership
participant Including all fund types and fund sources for each Full Service
Partnership proposed program.

The average cost is estimated to be $20,000 per person/year (total of 25
cllente/year).

5. Describe how the proposed program will advance the goals of recovery for
adults and older adults or resiliency for children and youth. Explaln how
you will ensure the values of recovery and resiliency are promoted and
continually reinforced.

This program embraces the concept of person-centered recovery services.
Fundamental to this concept is working with the strength and resilience that each
individual has acquired in their life experience, and capitalizing on the innate
Strength of the individual. Secondly, this model embraces the concept of
community recovery, which emphasizes the need for the individual to connect
with the community and supportive social relationships. It also recognizes that
individuals will face challenges and stresses that may impede their path to
recovery. At these critical moments, services must be immediately available to
ensure continued achievement of the person’s recovery and wellness goals.
This model normalizes the process of recovery and reduces stigma. By
providing a continuum of care through the Individual personal service plan, and
continuity through the single case manager, the FSP program will ensure that
individuals receive age, gender, and culturally appropriate services that are
designed to enable participants to:

* Live in the most independent, least restrictive housing feasible in the local
community.

¢ Self manage their illness and exert as much control as possible over both
the day-to-day and long-term decisions which affect their lives.

* Reduce or eliminate the distress caused by the symptoms of mental
illness.

« Access necessary physical health care and maintain the best possible
physical health.

* Engage in the highest level of meaningful activity appropriate to their
abilities and experience.

« OQObiain an adequate income.

e Create and maintain a support system consisting of friends, family and
participation in community activities.

* Have freedom from harm by others, and skills to prevent self-neglect.

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. The purpose Is to produce positive, measurable mental! health improvement and

I housing, socialization, and health outcomes that translate into tangible
improvements in the quality of people's lives. Plans will contain service
Strategies that will integrate cultural, linguistic, gender, age and other special
needs of the older adult population.

6. if expanding an oxlsting program or strategy, please describe your existing
program and how that will change under thls proposal.

Currently, the MHD has an AB2034 program that serves approximately 50
cllents, only 2 of whom_are older adults. The goal is to serve 25 SMi
unserved/underserved older adults per year in a Wraparound-type program.
Program participants will be supported by a multidisciplinary team with expertise
in mental health, case management, socialization, and linkages to medical
services including pharmacy consultation, housing resources, legal and
protective services.

All services will be driven by client choice and there will be a strong emphasis on
engagement in meaningful daily activity. An important focus will be on
individuals who are underserved and efforts will be geared toward breaking the
cycle of use of emergency hospitalization, inpatient hospitalization, SNF and IMD
use. The FSPs will aim to expand outpatient and in-home services to provide an
appropriate mix and intensity to maintain individuals in the community and
support their efforts to build quatity of life through personal goals and
achievements. These services will assist in stabilizing individuals with full range
of Wraparound support services and behavioral health recovery services. The
highest need clients (those with the greatest likelihood of failure in the community
settings) will be offered these full services for as long as is necessary to obtain
the goals of permanent housing, stabilization of mental health symptoms and
achievement of their highest possible functioning. All staff will be trained on the
types of benefits available and how to assist unserved and underserved
individuals to apply for benefits. A benefits tracking capacity will be built into the
existing system so that activities on behalf of the individuals can be closely
monitored and followed up in ail parts of the system. Benefits and Income
specialists will work in coordination with hospital and outpatient staff as well as
with other service facilities to make sure that individuals are assisted in applying
for benefits and tracking benefits applications status.

7. Describe which services and supports clients and/or family members will
provide. Indicate whether clients and/or families will actually run the
service or if they are participating as a part of a service program, team or
other entity.

This program will include peer-to-peer counselors who will be integrated into all
aspects of this program. The peer counselors will support Participants’
stabilization in their residence or re-entry to the community from a hospital or

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skilled nursing facility. The engagement of family and significant others in the
recovery plans will be an important component of service. The program will
Include education and support for family members. Existing self-help centers will
be an important resource to consumers of this program by providing support and
various activities tailored to the specific needs of the older adult.

8. Describe in detail collaboration strategles with other stakeholders that
have been developed or will be implemented for this program and priority
population, including those with tribal organizations. Explain how they will
help Improve system services and outcomes for indlviduals.

The program will include both formal infra-county collaborations as well as the
development of community and family collaborations. Collaboration with other
goverment agencies, mental health providers, primary and specialty medical
providers including pharmacy services, social services, public guardian, law and
court systems, housing consortiums and facilities, and the public in general are
being strengthened. In addition, through the MHD's extensive in-reach/outreach
process, we have initiated strong partnerships with culturaffethnic communities
that are being developed further into formal system partnerships.

9. Discuss how the chosen program/strategies will be culturally competent
and meet the needs of culturally and linguistically diverse communities.
Describe how your program and Strategies address the ethnic disparities
Identified in Part II Section [I of this plan and what specific strategies will be
i used to meet their needs. ,

These services will target populations that have been historically underserved by
the department. The target population of this program is the most needy of the
underserved and unserved. Chait A, “Service Utilization by Race/Ethnicity”
indicates in this age group the greatest unmet need is in the White population,
consistent with their presence in the older aduit population. However, both
Latino and Asian populations show a level of under-service that needs to be
addressed now and in the coming years as they become equal in proportion to
the White population in the 60+ age group. All services will address the linguistic
and cultural needs of these populations. Assertive outreach will be initiated to
identify and serve ethnic minorities through this program. The Department will
work closely with the Ethnic Minority Committee of the Mental Health Board and
community advisory committees in reviewing the success at eliminating the
disparities in treatment. ‘

10. Describe how services will be provided in a manner that is sensitive to
sexual orientation, gender-sensitive and reflect the differing psychologies
and needs of women and men, boys and girls.

The program will work with existing community-based agencies with expertise in
service to the diverse population of the county. These organizations include

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11.

12.

13.

expertise in language, culture, sexual orientation and gender-specific services.
Quarterly mestings will be held with these agencies and organizations to review
programs and make recommendations for Improvement that will serve the needs
of these populations. On going collaboration with existing gender-based
organizations (such as the YWCA), and GLBTQ organizations (such as the Billy
deFrank Center), to either davelop within our programs or provide referral and
other assistance to them in order to meet the needs of our consumers. This
collaboration will achieve two goals: improved staff awareness of the special
needs of and approaches to the LGBT community, and an expanded array of
referral sources for mental health and community services.

Community education to reduce the stigma associated with issues such as
HIV/AIDS, “coming out", domestic violence, etc., requires creative collaboration
with various organizations, (including faith-based) to provide a safe environment
for support, therapy, and education for our consumers, family members and
friends. . In addition we will further increase our coordination with community
centers, churches and other organizations that hold regular groups for men or
women, such as Interracial groups for Gay Black Men and Asians. Gender and
LGBTQ sensitivity will be achieved through change from within and partnership
with established organizations.

Describe how services will be used to meet the service needs for
individuals residing out-of-county.

This program will be operated within Santa Clara County, thus individuals need
to be present in the county area to participate in the program.

If your county has selected one or more Strategies to implement with MHSA
funds that are not listed in Section IV, please describe those strategies in

detail including how they are transformational and how they will promote
the goals of the MHSA.

NIA

Please provide a timeline for this work pian, including all critica}
implementation dates.

County Positions

December -January Write job descriptions for new positions

February — March Human Resources approval, Board approval

April - May Recruitment and hiring of new positions

REP

December-January Develop Request for Proposal service elements
February Publish Request for Proposals, Bidder's Conference
March 30, 2006 Proposals Due :

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14.

15.

Apnil 1-15, 2006 Panel Reviews

April 30, 2006 Notice of awards of RFP
May 1-15, 2006 Contract development
May .16, 2006 Prepare Board Transmittal
June 1, 2006 Contracts services begin

Develop Budget Requests: Exhibit 5 provides formats and instructions for
developing the Budgot and Staffing Detail Worksheets and Budget
Narrative associated with each program work plan. Budgets and Staffing
Detait Worksheets and Budget Narratives are required for each program
work plan for which funds are belng requested.

a. Work plans and most budget/staffing worksheets are required at the
program level. Consistent with the balance of the work plans, some
services may not be part of a comprehensive program and should be
budgeted as a stand-alone program and work plan. An example of this is
Mobile Crisis. it is a countywide service available to a broad service
population and may not necessarily be part of another program for a

priority population.

b. Information regarding strategies is requested throughout the Program and
Expenditure Plan Requirements. Strategies are approaches to provide a
progranyservice. Multiple strategies may be used as an approach for a
single service. No budget detail is required at the strategy level. Examples
of strategies include self-directed care plans, integrated assessments for
co-occurting disorders, on-site services in child welfare shelters, and self-
help support.

A Quarterly Progress Report (Exhibit 6) is required to provide estimated
population to be served. This form will be required to be updated quarterly
specifying actual population served. Additionally, a Cash Balance Quarterly
Report (Exhibit 7) is required to provide information about the cash flow
activity and remaining cash on hand. All progress reports are to be
submitted to the DMH County Operations analyst assigned to the County
within 30 days after the close of the quarter.

Santa Clara County Mental Health Servieas Aci
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County(les)}: Santa Clara County Fiscal Year, 2003-00
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Existing CBent Capactty of Progrem/Service: 0 Prapared by: Martha Paine
Clent Capacity of Program/Serdca Expanded through MHSA; 25 Telephone Number; 408 B85 6380
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A Expenditures

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b. Travel and Transportation
& Housing
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L Subaldios
L Vouchers
W. Other Housing
d. Emabyment and Educatien Supports
9, Other Suppor Expenditures (provide description in budget harraltye)
F. Total Support Expendturos 56 4
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b. New Additonal Personne! Expenditures (from Staffing Detall)
c. Employes Baneita
d, Total Personnel Expenditures _ sa x io
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&. Professional Soncaa
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b. New Program Management

__&. Totel Program Management 30 so

5. Extinated Total Expenditures when service provider la not known 170
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1. Existing Revenues
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b. Medkare/Patiant Fees/Patlent Insurance
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a. County Funds
f. Grants
g. Other Revenue
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b. Medicara/Patient FeesvPatend Insurance 01 Sait
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d. Other Revenue w
*. Total New Revenue 244
3. Total Revenues R44

C. One-Time C95 Funding Expenditures Sune $25,000
D. Total Funding Requirements 570.050

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Countyftes): Santa Clara County _ Fiscal Year 2006-06
Program Workplan # OA Date: T2r2v06
Program Workplan Nama &} Full Service Partnarehipa Page_1_of_ 7
I Type of Funding 1. Full Servic Pastnership Months of Oparetion 1
Proposed Total Cilent Capacity of ProgramService: 25 New Program/Servica or Expansion How
Existing Clent Capaclty of Program'Service: o Prepared by: Martha Paina
Cilent Capacity of Program/Sentoa Expanded through MHSA: 25 Tafephona Number 408 885 8560
Client, FM & CG! Total Number | Salary, W and Total Saluien.

Classification Function Fes” of FTEs Overdina ner FTE! Wages and Overtinw

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT .
COMMUNITY SERVICES & SUPPORT THREE YBAR BXPENDITURB PLAN

Exhibit 5a - Budget Narrative
OA-01: 60+ Full Service Partnerships
(100% of Total Cosi}
County: Santa Clara Fiscal Year: = 2005-06
Date: 12/23/05
A. Expenditures
1. Cent, Family Member and Caregiver Support Expenditures
a, Clothing, Food and Hygienc
b. Travel ond Transportation
c Housing
d. Employment and Education Supports
e. Other Support Expenditures
2. Personnel Expenditures
a. Current Existing Posilions
b. New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a, Professional Services
Db. Translation /interpreter Services
¢. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
f. Medication and Medical Supports
g- Other Operating Expenses
h Total Operating Expenditures
4. Program Management
a. Existing Program Management
b. New Program Management
c. Total Program Management
5, Estimated Total Expenditures When Provider isNot Known 2 of 25 capacity starts in June, see phased budget $57,333
6. Total Proposed Program Budget $57,333

B. Revenues
1. Existing Revenues
a. MediCal (FFP Only)
b. Medicare/Patient Fees/ Patient Insurance
c. Realignment
d. State General Funds
e. County Funds
Ff. Grants
g- Other Revenue
h, Total Exasting Revenue
2. New Revenues

a, MediCal (FFP Only} Medicare/MediCal 27% of Non-Startup Cost $1,633
b. Medicare/ Patient Fees/ Patient Insurance Medicare/MediCal 27% of Non-Startup Cost $611
c. State General Punds
d. Other Revenue
e. Total New Revenue
3. Total Revenue 32.444
C. One-Time CSS Funding Expenditures $25,000
D. Total Funding Requirements $79,889

E Percent of Total Funding Requirements for Pull Service Partnerships

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Pena/ 00534
. _ _ - | 0/08 Page 14 of 127
Case 2:90-Byihitrea Gaba esti Bbaviews Ace uments atitoes and Bled Bis Worksheet g

County({iea); Santa Clara County Fiscal Year: 206-07
Program Workplan # OAD1 Date: 12f2n/05
Program Workplan Name 80+ Finl Service Partnarshins Page _1_of_ 1
Type of Funding 4. Full Service Partnership Monihe of Operation 12
Proposad Tote! Cllant Capacity of Program/Servica: 26 New Program/Sarvice or Expanaton Rew
Exlsting Clleni Capacity of Progmm/Genice: G Prepared by: Martha Paina
Glient Capacity of Prograny/Servica Expanded through MHSA: 25 Telephone Number. 408 685 8860
Community
ee Governmental enn Total
Department Agencies Providers
A. Expenditures

1, Client, Family Member and Careghyar Support Expenditures
a. Claihing, Food and Hygkne
b. Travel and Trenspartation
c. Housing
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li, Substdins
GB, Youchan
tv, Other Houvelng
4. Employment and Education Supports
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b. New Additonal Personnol Expenditures (from Slafing Dotal}
¢ Employes Bonelite
d. Total Pessonnal Expenditures _ __. H . so H
1, Operating Expandiures .
@, Profesalons! Sorvicns
b. Tranulation and intempreler Services
¢, Travel and Transportation
0, Gonoeal Office Expenditures
6. Renl, Utiites and Equipment
{. Modiestian and Maviical Supports
8. Other Oparating Expenses (privide docarotion in budgal narrate)
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4. Program Managment
@ Exising Program Management
b. New Program Management
c. Toul Mana f 0 $o
5, Extimated Talal Expendiures when aervice provider ls not known H412,917
&. Total Proposed Program Budget $412,017 HQ $0 4
B. Revenues
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b. ModicnaPatian! Foos/Pathont Inaurance
c Realignment
d. State Ganerel Funds
a. County Funda
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H, Totel Existing Revenues . » wn 50
2. How Revenues
@, Med7-Cal (FFP oni} $103,229 $103,220
b, Medicare/Patien! FeenPatont Insurance 4.410 $34,410
& State Generel! Funds
d. Olhar Revenue »
@ Total Now Revenue $137,639
4. Tolal Revenues $137,639

C. One-Time C39 Funding Expenditures $100,000 $100,000
|D. Total Funciing Requirements 97 0 $9 $978,778 ok
|E. Percent of Total Funding Requirements for Full Gervice Pertnerships Page 439

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County(res}:
Program Workplan #
Program Workplan Name 60+ Full Sarvice Partnerships
Type of Funding 1. Fula Servioa Partneranip

Senta Clara County

OAD

Proposed Total Cilent Capacity of ProgramSarvice:

Existing Cllant Capacity of Program/Service:

Chant Capacity of ProgranvService Expandad through MHSA:

25
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Filed 10/30/08

Fisca? Year,

Data:

Manthe of Operation

New Program/Service or Expansion

Prepared by:

Telaphone Number.

2008-07
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12

New

Martha Paina
408 B55 6860

Classification

Function

Clant, FM & col Telal Number

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of FTEs

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Overtime por FTE”

Total Salastea,
Wages and Overtime

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Tobe! Current Exdating Poshions

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B. Hew Additional Poaltiona
0.25 FTE Program Manager
0,10 FTE Peychiatist

10.50 FTE Clinical Lead

2.00 FTE Gata Mansgar

1.50 FTE FamilyiPee Partner
1.00 FTE Admin Support

Program Oversight
Modication Support
Clinical Oversight
Case Managemen:
Farmiy/Peer Support
Clerical Support

Total New Additonal Posldona

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C. Total Program Foaldons

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af Enter the number of FTE postions thal will bo siaffed with clon, famfy members or carsghvers.
OF include any GHingudl pay supplements {8 applicable]. Round each amount to ha nesresl whole dollar,

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} SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative .
OA-O1: 60+ Pull Service Partnerships -

(100% of Total Cost}
County: Santa Clara Fiscal Year: 2006-07
. Date: 12/23/05
A. Expenditures
1. Client, Family Member and Caregiver Support Expenditures

a Clothing, Food and Hygiene

b. Travel and Transportation

¢. Housing

d. Employment and Education Supports
¢, Other Support Expenditures
2. Personnel Expenditures
a. Current Existing Positions
b. New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b. Trans]-ation/ Interpreter Services
¢. Travel and Transportation
d. General Office Expenditures
#, Rent, Utilities and Equipment
f. Medication and Medical Supports
g- Other Operaling Expenses
. h. Total Operating Expenditures
4. Program Management
a. Existing Program Management
b. New Program Management
c. Total Program Management
5. Estimated Total Expenditures When Provider is NotKnown 2 of 25 capacity slarts in June, see phased budget $412,917
6. Total Proposed Program Budget $412,017

B. Revenues

1. Existing Revenues
a. MediCal (FFP Only}
b. Medicare/Patent Fees/ Patient Insurance
c. Realignment
d. State General Funds
e, County Funds
f Grants
g. Other Revenue
h. Total Existing Revenue

2 New Revenues
a MediCal (FFP Only} Medicare/MediCal 27% of Non-Starlup Cost $103,229
b. Medicare / Patient Fees/Patlent Insurance Medicare/MediCal 27% of Non-Startup Cost #34410
c. State General Funds
d. Other Revenue
@, Tolal New Revenue

3. Total Revenue $137,639
C. One-Time CSS Funding Expenditures $100,000
D- Total Funding Requirements $375,278

E. Percent of Total Funding Requirements for Full Service Partnerships

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HIBIT 6a~Mental Health Services Act Community Services and Supports Budget Worksheet

County{les): Sante Clara County _

Program Workplan # OAD

Program Workplan Name 60+ Full Service Partnerships

Type of Funding 4. Full Service Partnership

Proposed Total Cllent Capacity of Program/Service:
Exating Clent Capacty of ProgranvServica:
Client Capacity of Program Sarde Expanded through MHSA:

25

2007-08
Date: 12/205
Page _1_of_1_
Montha of Operation 12
New Program/Sanice or Expansion
Prepared by: Martha Paina
Telephone Number, 408 885 6850

Fiscal Year.

New

Community
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Contract
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Other
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A. Expenditures
1. Chon, Family Member and Caregiver Support Expenditures
4. Clothing, Feod and Hygiene
b. Travel and Trenaperlatan
c. Rousing
L Mosler Laases
i Subsuias
HL Vouchors
hy. Other Housing
4. Erpleymerd and Education Supports
6, Other Support Expenditures (provide denciption In budge! narrating)

f Total Suppert Expenditures

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2. Personnel Expenditures
a, Current Existing Personnel Expenditures (from Stafling Detall)
b. Now Additional Parsonnel Exponditures (from Staffing Detail}

¢. Employes Bonofite
d. Toial Personne Expenditures

ee ss

3, Operating Expenditures
a, Professional Sardces
b. Trenetatlon and inlerpreter Services
¢. Trevel ond Transportation
¢. Ganoral Offica Expenciurag
a. Rent, Littltes and Equipment
L Medication and Medical Supports
g- Othor Operating Expenses {provide description in buted narrative)
h. Tolal Operating Expenditures

4. Progrem Mensgement
6. Existing Program Management

b. Man Program Management
© Total Program Managemen

8. Esllmated Total Expenditures when service provider Is not known

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8. Totel Proposed Program Budpel

5. Revanuse
4, Existing Revenues
b. MedFCal (FFP only)
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c. Realignment
d. State General Funds
0. County Funds
I. Grants
g. Oth Revonue
h. Total Existing Rovonuss
2 New Revenues
8. Med-Gal (FFP only}
b. MedkarnyPatent Fose/Pabern Insurence
c. State Garewal Funds
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&. Total New Riavanue
3. Tote! Revenues

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C. One-Time C38 Funding Expenditures

D. Total Funding Requirements

|E. Percent of Total Funding Requirements for Full Service Partnerships

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County{les}: Santa Clara County Fieca! Year: 2007-08
Program Workplan # Oa-01 Date: tarza0s
Program Workplan Name 80+ Full Service Partnerships Pags_ t_of_1_
Type of Funding 1, Full Servos Parinership Months of Operation 12
Propoead Total Client Capacity of Program/Service: 25 New Progran!Service or Expanalon New
Existing Cent Capacity of Program/Secvice: 0 , Prepared by: Martha Palna
Client Capacity of Program/Sarvice Expanded through MHSA; 26 Tatephona Number: 405 685 8660
Client, FM & GG} Total Number | Salary, Wages and Total Splastes.
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0.10 FTE Psychiguist Medicalion Support 0,10 HO
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2.00 FTE Cate Manager Case Managamenr 200 0
1.50 FTE FamilyPeer Parner |FamllyPear Support 1.50 0
4.00 FFE Admin Support Clortcal Support 1,00 x
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Total Rew Additonal Postdans 1.60 3.05 x
C. Total Program Fosltions 1.60 3.85

# Enter the number of FTE positions thal will be Glaffed with clients, fam3y members or careghvors.
bf Include any b+ Angual pay supplamonts (MW apptcable}. Round aach amount ip the neares! whola Bolar.

See

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM

MENTAL HEALTH DEPARTMENT

COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA-O1: 60+ Pull Service Partnerships
(100% of Total Cost)
County: Santa Clara

A. Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b, Travel and Transportation
c. Housing
d. Employment and Education Supports
¢, Other Support Expenditures
2. Personnel Expenditures
a. Current Bxlsting Positions
b. New Additional Positions
c. Employee Benefits
d, Tolal Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b, Transl-ation/ Interpreter Services
¢. Trave] and Transportation
d, Gencral Office Expenditures
e, Rent. Utilities and Equipment
{. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expend|tures
4. Program Management
a. Existing Program Management
b, New Program Management
c. Total Program Management
>. Estimated Total Expenditures When Provider is Not Known — Full Capacity
6. Total Proposed Program Budget

B. Revenues

1. Existing Revenues
a MediCal (FFP Only}
b, Medicare/Patlent Fees/ Patient Insurance
c. Realignment
d. State General Funds
e. County Funds
f. Grants
g. Other Revenue
h. Total Existing Revenue

2. New Revenues

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Fiscal Year, 2007-08
Date: 12/23/05

$500,000
$500,000

a. MediCal (FFP Only) Medicare/MediCal 27% of Non-Startup Cost $125,000
b, Medicare/ Patient Fees/ Patient Insurance Medicare/MediCal 27% of Non-Startup Cost $41,667

c. State General Funds

d. Other Revenue

e. Total New Revenue
3. Total Revenue

C. One-Time CSS Funding Expenditures
D. Total Punding Requirements
E. Percent of Total Funding Requirements for Full Service Partnerships

$166,667

$100,000
$433,333

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OA-02 Senlor Behavioral Health Services — Outpatient System Redesign

1. Complete Exhibit 4 (as required under Section IV response). Using the
format found in Exhibit 4, please provide the following summary:

Please refer to Exhibit 4 above.

2. Plaase describe In detail the proposed program for which you are
requesting MHSA funding and how that program advances the goals of the
MHSA.

This program has two distinct components: Improved treatment services and
supports and expanded day services. The improved treatment services are
consistent with system redesign and include the older adults’ primary support
system: consumers, friends, family members, primary care givers from physical,
mental and social services. Each will be considered for inclusion at various
levels of service outreach, engagement, assessment, care planning, and
delivery. The redesign also embraces a recovery model in which services are
geared towards helping consumers develop the necessary skills and support
system needed for independent living. This service strategy will add Paid
consumer and family member and community workers to the county outpatient
programs. These individuals will be involved in a variety of service areas, such
as engagement efforts, facilitation, and coordination of services, education and
training, rehabilitation, and case management, Most of these individuals will
possess ethnic and cultural expertise, especially specific to the Latino,
Asian/Pacific Islander, and LGBTQ communities.

The service enhancement component addresses specific disparities in the older
adult system. Consumers with medical issues and med ication management
problems or dual-diagnosis will have access to primary care and substance
abuse or medication management services. Consumers from underserved
ethnic and cultural communities, especially Latino, Asian/Pacific Islander, and
LGBTQ, are in need of increased access due to historic and growing disparities
related to the ethnic and cultural changes in the community.

This program will address the following specific outcomes that are called forth in
the MHSA plan:

* Meaningful use of time and capabilities, including employment, vocational
training, education and social and community activities.
This program will place a greater emphasis on supporting consumers on
developing their life skilis so that they can live independently and thrive in the
community. The addition of consumer and family member staff in service
engagement and delivery will assist individuals in their road to recovery. In
the recovery model that will be adopted, transitional age older adults between
95 and 60 will be linked to employment as appropriate, and aff will be given

Santa Clara County Mental Health Serdcas Act
Community Serdoes and Supporis Three Year Expenditure Plan
Dacember 30, 2005

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educational opportunities, and community and social! activities to decrease
isolation.

* Safe and Adequate Housing.

Older adults will be assessed for their housing needs, particularly for the risk
of losing permanent housing associated with declining health, mental capacity
or finances. Specific attention will be paid to the older adult requiring
temporary hospital or nursing home care who must have permanent housing
when discharged from one of these institutions.

e Network of Supportive relationships.

This program creates a more supportive network within the service programs
by augmenting services in community senior centers and nutrition sites with
mental health services, and employing consumers and family members to
work side-by-side with mental health professionals. In addition, thera will be
an emphasis on linking consumers and family members to community
resources, such as the consumer-run Self Help Centers and NAMI. Special
programs for older adults will be added to Self help centers, if feasible.

e Reduction in institutionalization.
This program creates opportunities to avoid institutionalization, or minimizing
the duration if it o¢curs, but enhancing support systems that maintain the
older adult in their residence, or assure that there is a safe and appropriate
residence for them at discharge. This includes locations that have supportive
programming as well as accommodations for physical conditions.

3. Describe any housing or employment services fo be provided.

As noted above, housing services will consist of assuring safe and adequate
housing. For the older adult, this will invoive securing sufficient housing units
that are adapted for their physical, mental and socialization needs. This may
also include subsidies or the investment in new housing units. (See H014)
Employment services will not be the main focus, although securing employment
for transition age older adults will be included with adult programs. Socialization
and meaning daily activity will be emphasized through linkages with existing
senior centers and the development of programs within the Seif Help Centers.

4, Please provide the average cost for each Full Service Partnership
participant including all fund types and fund sources for each Full Service
Partnership proposed program.

N/A

5. Describe how the proposed program will advance the goals of recovery for
adults and older adults or resiliency for children and youth. Explain how

Santa Clara County Mental Health Serdees Act
Community Services and Supports Three Year Expenditure Plan
December 30, 2005

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you will ensure the values of recovery and resiliency are promoted and
continually relnforced.

Recovery and resiliency are at the foundation of alt our programs and strategies.
Resiliency may be more applicable to older adults because so many suffer from
co-occurring disorders (physical conditions, dementia, Alzheimer’s etc.), that
affect their mental health and from which they may not “recover”. Nevertheless,
a combination of the evidence-based practices mentioned above will give the
older adults and their families or caregivers the tools to manage their health
issues and improve their overall quality of life as the senior progresses through
the stages of aging. Fundamental to this concept is working with the strength
and resilience that each individual has acquired within their extensive life’
experiences and capitalize on the innate strength of the individual, Further, this
model embraces the concept of community racovery, which emphasizes the
need for the individual to connect with community, and social relationships that
are not attached with the treatment facility.

Education of therapists, community members, peer counselors and family
members wil! be ongoing to ensure that they use age-approaches to engaging
and working with older adults. Additionally, it will assure these caregivers have
sufficient information to provide older adults access to resources needed for help.
Engagement will recognize that the individual along her or his path to recovery
and wellness will confront challenges and stresses and that services must be
immediately available at this point to ensure continued achievement of the
persons’ recovery and weilness goals that they have established for them self.
This model normalizes the process of recovery and reduces stigma.

6. if expanding an existing program or strategy, please describe your existing
program and how that will change under this proposal.

Currently, there is only limited capability for addressing the needs of the older
adult. Only two outpatient programs in the county system have specialized staff
for working with older adults, and County staff are responsible for the continuity
of care between institutions and between institutions and outpatient settings.
Further, there are no formal linkages with Social Service agencies, primary care
or community-based programs for older adults. This is anew program designed
to secure those linkages with the addition of specialized case managers,
therapists, nursing or other medical consultation and consumer staff. Two major
improvements are anticipated: 1) the infusion of specialized staffing for older
adults with an emphasis on consumer, family member, and community worker
staff, and 2) the adoption of a wellness and recovery model of care.

Santa Clara County Mental Health Services Aci
Community Senices and Supports Three Year Expendituca Plan
December 30, 2005

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7. Describe which services and supports clients and/or family members will
provide. Indicate whether cllents and/or families will actually run the
service or if thay are participating as a part of a service program, team or
other entity.

Consumers, family members and people within the clients’ primary support
system will be employed in the county outpatient programs. These individuals
will participate in the programs by providing a variety of services, such as
engagement efforts, facilitation, and coordination of services, education and
training, rehabilitation, and case management.

8, Describe In detall collaboration strategies with other stakeholders that
have been developed or will be implemented for this program and priority
population, including those with tribal organizations. Explain how they will
help Improve system services and outcomes for individuals.

The MHD has developed numerous Community Advisory Committees (e.g.,
Latino, Asian/Pacific Islander, African American, Native American, GLBTQ,
consumer and family members, etc.) to address the unique needs of the diverse
ethnic and cultural communities throughout the county. These committees were
developed during the MHSA planning process and will be formalized into
collaborative partnerships. These partnerships will be accessed as the
department redesigns the older adult outpatient system and develops additional
capacity for specialized groups. In addition, several ongoing system partners
(e.g. Social Services, Public Guardian's Office, Department on Aging, Council on
Aging, NAMI, Consumer Self Help Centers, pharmacists, and Department of
Alcohol and Drug Services etc.) will be involved to collaborate on the redesign
process.

9. Discuss how the chosen program/strategies will be culturally competent
and meet the needs of culturally and linguistically diverse communities.
Describe how your program and strategies address the ethnic disparities
identified in Part II Section II of this plan and what Specific strategies will be
used to meet their needs.

These services will target the Latino and Asian/Pacific Islander populations that
have historically been underserved by the department. All services will address
the linguistic and cultural needs of these populations. Assertive outreach through
Social Services with an emphasis on Public Guardian and Adult Protective
Services, community based senior centers, faith based organizations and the
community at large will be initiated to identify and serve ethnic minorities through
this program. The Department will work closely with the Ethnic Minority
Committee of the Mental Health Board in reviewing the success at eliminating the
disparities in treatment.

Santa Clara County Menlal Health Sarvices Act
Community Services and Supports Thraa Year Expenditure Pian
Dacember 20, 2005

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10. Describe how services will be provided In a manner that is sensitive to
sexual orientation, gender-sensitive and reflect the differing psychologies
and needs of women and men, boys and girls.

The program will work with existing community-based agencies with expertise in
serving the diverse population of the county. These organizations include
expertise in language, culture, sexual orientation, and gender-specific services.

Collaborative efforts will be undertaken with existing gender-based organizations
and LGBTQ organizations to develop services within existing programs or to
provide referral and other assistance in meeting consumers' needs.. The amount
of stigma associated with issues such as HIV/AIDS, “coming out’, and domestic
violence, requires special emphasis to be placed on providing a safe
environment for support, therapy and education for our consumers, family
members and friends. This includes coordinating more effectively with
community centers offering programming and counseling for LGBTQ adults and
older adults. Gender and LGBTQ sensitivity will be achieved through system
change from within and partnership with established organizations.

11. Describe how services will be used to meet the service needs for
individuals residing out-of-county.

The collaborative redesign of-the Older Adult Outpatient Behavioral Health
system will benefit clients in skilled nursing facilities bath locally and in out of
county placements. The emphasis on continuity of care will help maintain a
linkage to their home community through therapeutic goals that are developed in
collaboration with family, care givers and service providers.

12. If your county has selected one or more strategles to implement with MHSA
funds that are not listed in Section IV, please describe those strategies in
detail including how they are transformational and how they will promote
the goals of the MHSA.

N/A

13. Please provide a timeline for this work plan, including all critical
implementation dates.

County Positions

December -January Write job descriptions for new positions
February —- March Human Resources approval, Board approval
April - May Recruitment and hiring of new positions

RFP

December-January Develop Request for Proposal service elements

Santa Clara County Manta! Health Services Aci
Community Sereces and Supports Threa Year Expenditure Plan
December 30, 2005

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14,

15.

February Publish Request for Proposals, Bidder's
Conference

March 30, 2006 Proposals Due

April 1-15, 2006 Panel Reviews

April 30, 2006 Notice of awards of RFP

May 1-15, 2006 Contract development

May 16, 2006 Prepare Board Transmittal

dune 1, 2006 Contracts services begin

Develop Budget Requests: Exhibit 5 provides formats and instructions for
developing the Budget and Staffing Detall Worksheets and Budgat
Narrative assoclated with each program work plan. Budgets and Staffing
Detail Worksheets and Budget Narratives are required for each program
work plan for which funds are being requested.

a. Work plans and most budget/staffing worksheets are required at the
program level. Consistent with the balance of the work plans, some
services may not be part of a comprehensive program and should be
budgeted as a stand-alone program and work plan. An example of this is
Mobile Crisis. It is a countywide service available to a broad service
population and may not necessarily be part of another program for a
priority population.

b, Information regarding strategies is requested throughout the Program and
Expenditure Plan Requirements. Strategies are approaches to provide a
program/service. Multiple strategies may be used as an approach for a
single service. No budget detail is required at the strategy level. Examples
of strategies include self-directed care plans, integrated assessments for
co-occurring disorders, on-site services in child welfare shelters, and self-
help support.

A Quarterly Progress Report (Exhibit 6) is required to provide estimated
population to be served. This form will be required to be updated quarterly
specifying actual population served. Additionally, a Cash Balance Quarterly
Report (Exhibit 7) is required to provide information about the cash flow
activity and remaining cash on hand. All progress reports aretobe —
submitted to the DMH County Operations analyst assigned to the County
within 30 days after the close of the quarter.

Santa Clars County Mental Heallh Servicas Act
Community Services and Supporis Thrae Year Expenditure Plan
Dacambar 30, 2005

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Case 2:90- cenit anild REHRGhi Udi nd SoA VSL onaeo® 29 Of 127

Counly (las): Santa Clara County
Program Workplan OAD2

Program Workplan Name 60+ Behavioral Haalth Recovery Services

Type of Funding 1. Full Sarvice Patinership

Proposed Tote Client Capacity of Program/Sarvica:
Existing Cllent Capactty of Program/Service:
Cllent Capacity of Program/Sorvice Expanded through MHSA:

2003-08
Date: IZeVO5
Page _1_of_1__
Months of Oparation 4
50_ New ProgramyService or Expansion New
a Prepared by: Martha Palhe
50 Telephone Number 408 845 @8a0

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Contract

Providers

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A. ExpondHures
1, Clent, Family Member and Caregiver Qupport Expenditures
@ Clothing, Food and Hygiene
b. Trval and Transpartaten
¢. Howling
C Master Leases
L Subsdles
0, Vouchers
hv. Other Housing
d. Employment aod Education Supports
©, Other Support Expenditures (provide descrielian ja budge narsthes}

f, Total Support Expenditures

2. Personnel Expenditures
8. Currant Exsting Personnel Expondituros (from Staffing Detal)
b. New Additional Personal Expenditures (fram Stalfing Detal)
c. Employee Banotits :

d. Tol) Personne! Expanditurad

3. Operetinag Expenditures
a. Profetalone! Servos
6, Translaten and interpreter Sendeas
& Travel end Transportation
d, Gener! Office Expenditures
6. Rent, Utes and Equipment
[, Medication and Medical Supperts
0- Othar Operating Expenzes (provide description In budgel nammative}

| h. Total Operating Expanditurss

4, Program Management
a. Exiting Program Management
b. New Progrum Management
& Total Program Manu it

S. Estimated Total Expenditures when service provider Ls not imewn

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HL Se e848 leese feweveweeree #4

$20,773

8. Total Proposed Program Budpet

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B. Revenues
1. Exdating Revonues
8. MadHCal (FFP only)
b. MedicaryPathend Feee/Patent Insurance
c Roabgnmen
d. Stow General Funda
6, County Funds
t Grants
g- Cite Revenue
bh. Total Existing Revinues
2. Mane Rewe nue
a. Medi-Cal (FFP only}
>. Modican/Patient Feea/Patient Insurances
c. State General Funda
d, Offer Revanue
0, Total New Raven uc
3. Total Revenues

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C. One-Time C8S Funding Expenditures

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D, Total Funding Requirements

E. Percent of Total Funding Requirements for Full Service Partnerships

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Case 2:9@xee POE Ani WneSooes ALCGHRIRD bahAdath supblle Sd WAUAAwondr Gee 30 of 127

County{les): Santa Clara County Fiscal Yoar: 2005-06
Program Workplan # OA-02 Dele: aS
Program Workplan Name __&¢+ Bshaviora! Health Recovery Services Pago_ft_lot__1__
Type of Funding 1. Full Service Partnership Months of Operation 1
Proposed Tote] Cfent Capacity of Program/Service: 60 New Progran¥Servica or Expansion New
Existing Clleni Capacity of Program/Service: 0 Prepared by: Martha Paine
Cilenl Capacity of Program/Service Expandad through MHSA: 50 Tolephone Number 408 885 4860
Chant, FM & CG] Total Number | Salary, Wi and Total Salaries. -
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A. Current Existing Positions
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&. New Additional Positions
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Total New Additonal Positions 17s} 2.68 sO
C. Total Program Positions 1.75 298

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Wt include ary bidingual pay supplements (F appiicnhia), Round each amound to tha nearest! wholg dollar,

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SANTA CLARA VALLBY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES é& SUPPORT THREE YEAR BXPENDITURE PLAN

Exhiblt Sa - Budget Narrative
OA-02: 60+ Behavioral Health Recovery Services
Funding Source: Full Service Partnerships
(35% of Total Cost)
County: Santa Clara Fiscal Year; 2006-06
Date: 12/23/05
A, Expenditures
1. Client, Family Member and Caregiver Support Exponditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
c. Housing
d. Employment and Education Supports
e. Other Support Expenditures
2. Personnel Expenditures
a. Current Existing Positions
b. New Additional Positions
c. Employee Benefita
d. Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b. Transl,ation/ Interpreter Services
c. Trave] and Transportation -
d. General Office Expenditures
e. Rent, Utilities and Equipment
{. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a. Existing Program Management
b. New Program Management
¢, Total Program Management
5. Estimated Total Expenditures When Provider is Not Known 4 of 50 capacity starts in June, see phased budget $26,273
6. Total Proposed Program Budget $26,273

B. Revenues

1. Existing Revenues
a. MediCal (FFP Only)
b. Medicare/ Patient Fees/ Patient Insurance
c. Realignment
d. State General Funds
e. County Funds
f. Grants
g. Other Revenue
h. Total Existing Revenue

2. New Revenues
a. MediCal (FFP Only} Medicare/MediCal 37% of Non-Startup Cost 33
b. Medicare/ Patient Fees/ Patient Insurance Medicare/MediCal 37% of Non-Startup Cost $211
c. State General Funds
d. Other Revenue
e. Toll New Revenue

3. Total Revenue Si44
© One-Time CSS Funding Expenditures 59,158
D. Total Funding Requirements $34,587

E. Percent of Total Funding Requirements for Full Service Partnerships

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Program Workplan # OAD2

Program Workplan Nama 60+ Bahavioral Hasith Recovery Garvicas

Typs of Funding 1. Full Servieg Partnership
Proposed Total Client Capacity of Program/Servies:

Existing Cllent Capactty of Program/Servica:

Cltant Capactty of ProgranvService Expanded trough MHSA:

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Case 2:90 ate Bons hak Borvices Roe Services and Supports Budgel Workshest

County{lea): Santa Clara County

Fiscal Year:

Date:

2000-07
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‘Monthe of Oparation
50__ New Program/Servica or Expansion
. Prepared by: Martha Paina
Talaphona Number: 409 885 a8éc_

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New

Other
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Community
Mental Health
Contract
Providers

Total

A. Expenditures
1. Cllent, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Trevol and Transportation
c. Housing
L Maalot Leases
L. Subsidies
i, Vouchots
by. Other Houelag
d. Employment and Educallon Supports
®, Other Support Expenditures (provide dasaription in budgel narrative)

F. Totat Support Expenditures

2 Personnel Expenditures
6. Curren Existing Pemonnel Expenditures (from Staffing Delal}
b. New Additonal Personal Exponditures (from Staffing Detall)
c Employes Banalits
d. Total Personna! ortures

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3. Opening Expenditures
6, Professional Serices
b. Trensiation and Inierpratar Services
©. Travel and Transportation
4, Gonerad Office ExpendRures
6. Rani, Utilliss and Equipment
F. Medication and Medical Supports
9. Othor Oparsting Expenses (provide description In budget narrattva)

|__h. Total Operating Expenditures
4. Program Management
8. Exisilng Program Management
b, New Progoum Management
¢. Total Progam Management

6. Ett d Total Exparnditures when service provider is not k

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6. Total Proposed Program Buddpal

8. Revenues
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b. ModicanwPatient Fees/Padent Insurance
¢. Rsalignment
d, Stale General Func
a. Courty Funda
f. Grants
gq. Othe Revenua
h, Total Edeting Rinvensves
2. Meow Revenues
a, MedhCal (FFF only}
b. MedicarePatan! Feos/Patient Insurance
c. Stale Ganera! Funds
«L Other Ravenug
©. Total Hew Reworue
|_ 3. Total Revenies

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$103,352

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C, One-Tine C86 Funding Expenditures

41,404

10. Total Funding Requirements

E. Percent of Total Funding Requirements for Full Service Partnerships

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Countyilea): Santa Clara County Fiscal Year. 2008-07
Program Workplan # OAL ” Date: 122006
Program Workplan Name 60+ Behavioral Hastih Recovery Servicas Pege_ tlof_i_
Type of Funding 1, Full Service Partraralilp Months of Openitian 12
Propasad Total Cllent Capacity of ProgranySendics: 60 New Progremv/Senice or Expansion New
Existing Client Capacity of Progran/Sarvica: oO Prepared by: Martha Paine
CRent Capacity of ProgranvService Expanded through MHSA: 5o Tatephone Number: 408 885 6880
Client, FM & CG) Total Number We and Total Sal .
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A. Current Exteting Poaltiona
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C. Total Program Positions 1.75]

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bf Include any bilingual poy supplements (if applicable] Round sech emaunl lo the atures! whole dollar,

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Case 2:90-cv-00520-KJM-SCR Document 3144-4 Filed 10/30/08 Page 34 of 127

SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA-02: 60+ Behavioral Health Recovery Services
Funding Source: Full Service Partnerships
(35% of Total Cost)
County: Santa Clara Fiscal Year; 2006-07
Date: 12/23/05
4. Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b, Travel and Transportation
c. Housing
d. Employment and Education Supports
e. Other Support Expenditures
2 Personnel Expenditures
a. Current Existing Positions
b. New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
. a. Professional Services :
b, Transl-aton/ Interpreter Services .
c. Travel and Transporlaiion
d. General Office Expenditures
é. Rent, Ubilities and Equipment
f. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4, Program Management
a. Existing Program Management
b. New Program Management
¢ Total Program Management
5, Estimated Total Expenditures When Provider is Not Known 4 of 50 capacity starts in June, see phased budget = $217,234

6. Total Proposed Program Budget $217,234

B, Revenues

1. Existing Revenues
a. MediCal (FFP Only)
b, Medicare/ Patient Fees/Patient Insurance
, Realignment
d, Stale Genera] Funds
e. County Funds
f. Grants
g. Other Revenue
h. Tolal Existing Revenue

2, New Revenues
a. MediCal (FFP Only) Medicare/MediCal 37% of Non-Slartup Cost $77,514
b. Medicare/ Patient Fees/ Patent Insurance Medicare/ MediCal 37% of Non-Startup Cost 525,838
c. State General Funds
d. Other Revenue
e. Total New Revenue

3. Total Revenue $106,352

C One-Time CoS Funding Hxpenditures MLAS
D. Tolal Funding Requirement $175.36
E. Percent of Tolal Funding Requirements for Full Service Parmerships

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County{ies): Santa Clara County

Program Workplan # OA02

Program Workplan Name 604 Bahavioral Health Recovery Services

Type of Funding 1. Full Service Partnership

Proposed Total Clent Capacity of Program/Servica!
ExlaUng Client Capacity of Progran/Service:
Chant Capacity of Program/Servica Expanded through MHSA:

Flacal Year.
Dale:

2007-08
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Months of Operalion
60 New Program/Serice or Expansion
Prepared by: Martha Paina
Telephone Number: 408 685 6350

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Contract
Providers

Total

A. Expenditures
1. Cltent, Family Member and Caregiver Support Expenditures
8. Clothing, Food and Hygiene
b. Travel end Transportation
& Housing
L Master Leases
1 Subsidlos
B. Vouchers
bh. Other Housing
d. Employmanl and Education Supports
5. Other Support Expenditures (provide description In budgal narratives)
Total Suppet Expandttures

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d. Tot Personnel Expendkures

3, Operating Expendituros
2. Professional Services
b, Trnslatien and inlerpreter Services
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d. General Office Expandiiunes
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{. Medication and Medical Supports
Q- Other Operaifng Expenses (provide deectigtion in budgal narrative)

! h. Tot Operating Expenditurae

4. Program Managenrent
8. Bdsiing Program Management
b. Mow Program Management

/_ © Tots! Program Management

6. Estimated Tote! Expenditures when service provider ts not know?

$245,000

$245,000

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6. Total Proposed Program Budget

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4. Exteting Airvenusa
6, Med+Cal (FFP only}
b. Mediere/Patien| Foss? atent Ineureice
¢. Realignment
d. State General Funda
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g. Olher Revenue
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2 New Revenues
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b. Medicu/Paben| FeaePaten Insurance
Ste Gono Furcda
d. Other Revenue
6. Total New Revenus
3. Totel Revenues

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C, One-Thne C8S Funding Expenditures

$78,000

D. Total Funding Ragquirements

E. Percent of Totel Funding Requirements for Full Service Partnerships

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County{ies}: Santa Clara County
Program Workplan # OA-02

Program Workplan Name  @0+ Behavioral Hastth Retovary Servioos
Type of Funding 1, Full Sanice Partnership

0/30/08 Page 36 of 127
ng Oetall Workshes
Flacal Year: 2007-08
Date: T2ZATS

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Monthy of Oparation 12

Propased Tote! Clent Capacity af Program/Senioe; 50 New ProgranyServica or Expansion New
Exdating Clean! Capacity of Program/Sarvice: 0 Prepared try: Martha Paina
Client Capactty of Program/Service Expanded through MHSA: 50 Telephone Number: 408 885 6860
Client, FH & CG) Tote Number | Salary, Wages and | - Toul Salarios.
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A. Current Exteting Posldons
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Total Current Exlating Poattons 0.00 a _s

B. Kew Additonal Positons
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5.00 FTE Case Manager

3.00 FFE Case MgriLiaisons

5.00 FTE Fomily/Peor Parner 1.75

Total Now Additional Positions 1.75

¢. Total Program Posttions 1.75

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Wi Include any bilingual pay euppiomonts (if appicabla), Round each amount to the nesresi whole dollar.

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SANTA CLARA VALLEY HEALTH é& HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREB YEAR EXPENDITURE PLAN

Bxhibit 5a - Budget Narrative
OA-02 60+ Behavioral Health Recovery Services
Funding Source: Pull Service Partnerships
. {35% of Total Cos}
County: Santa Clara Fiscal Year, 2007-08
Date: 12/23/05
A. Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
c. Housing
d. Employment and Education Supports
e. Other Support Expenditures
2 Personnel Expenditures
a. Current Existing Positions
b. New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a Professional Services
b. Transiation/ Interpreter Services
¢. Travel and Transportation
d. General Office Expenditures
é. Rent, Utilities and Equipment
£ Medication and Medical Supports
g. Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a, Existing Program Management
b. New Program Management
c. Total Program Management :
5. Estimated Total Expenditures When Provider is Not Known 4 of 50 capacity starts in June, see phased budget $245,000
6, Total Proposed Program Budget $245,000

B. Revenues

1. Eodsting Revenues
a. MediCal (FFP Only)
b. Medicare/Patent Fees/ Patient Insurance
c. Realignment
d. State Genera] Funds
e, County Funds
f. Grants
g- Other Revenue
h. Total Existing Revenue

2 New Revenues
a. MediCal (FFP Only) Medicare/MediCal 37% of Non-Startup Cost $87,500
b. MedJcare/ Patient Fees/Patient Insurance Medicare/MediCal 37% of Non-Startup Cos! $25,167
c State General Funds
d. Other Revenue
e. Total New Revenue

3. Total Revenue . $116,667

C. One-Time CSS Punding Expenditures $70,000
D. Total Funding Requirements 3198333
B. Percent of Total Funding Requirements for Full Service Parmerships

Page 462
Pena/ 00558
Case 2:90-Cixtial 2airlW taSifatBervichd Ret UINGhdig Weide and al poor BEIM Wortahedoe 2° Of 127

County (les): Sante Clara County
Program Workglan # OAD2

Program Workplan Name 60+ Gehaviocal Health Recovery Services
Typ of Funding 2. System Development

Proposed Total Cllent Capacity of Program/Service:
Existing Client Capactty of Program/Sarvice:
Chent Capacity of Program/Service Expanded through MHSA:

50__ New ProgranvSorvles of Expansion

Fiscal Year.

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2005-08
fa: 12/23/05
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Months of Operation i

Now

Prepared by: Marlha Paine
Telephone Number, 408 685 6600

Department

Oiher
Governmental
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Community
Mental Health
Contract
Providers

Total

A Expenditures
1. Cllent, Family Member and Caregiver Support Expenditures
a. Gething, Food end Hyglenc
db. Travel ond Transportation
c. Kasing
E Master Laaces
L. Subsidies
lL Vouchers
fy, Other Housing
di, Employment and Education Supports
6. Other Support Expendiures (provide description in budgol narathe)
f, Totat Support Expandituras

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2 Personnel Expenditures
@. Current Extsiing Perronne! Exponditures (from Stalfing Detall}
b. New Additional Personnel Expenditures (from Staffing Detel}
c. Employes Banallts

. Total Persoonel Expenditures

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4. Opersting Expenditurns
a, Profetglonat Sorvicos
b. Tranwation and Interpreter Sarvioss
¢. Travel and Transportailon
d. Gerard! Offies Expenctucns
©. Rent Vuites ond Equipment
E Medication and Modical Supports
9- Other Operating Expenses (provido daccripan In budpat naratin}
h, Total Operating Expenditures

4 Progr Management
a. Existing Program Management
b. New Program Management
¢. Total Program Managemoni

5. Estimated Total Expenditures whan service provider bt nol known

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8 Total Proposed Program Bucigat

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Blilges eee sex

B. Revenues
1. EdaUng Revenues
8. MedlCal (FFF only)
b, Median Palen! Feee/Patlant Insurance
& Raslignment
d. State Gene! Funds
9. County Funda
f, Granta
g. Othe: Rrvenus
h. Total Exleting Rurrauos
2. Rew Revenues
6. MédiGel (FFP only)
6. Medicanw Patient Fees/P stent Inurance
& Stas General Funds
¢. Other Reverve
6. Tolal Hew Revenue
3. Total Revenues

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GC. One-Time C85 Funding Expenditures

D. Total Funding Requirements

|E. Percent of Totel Funding Requirements fer Full Service Partnerships

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Case 2:9 He F@b Anta lid Gerices AX CoM HUAiy sara ute SunpHrer Sthiahy OblawormiaNe 22 Of 127

County(iesy: Sante Clara County Flacal Year. 2005-08
Program Workplan # OAO2 Date: \afzaon
Program Workplan Nama __@0+ Behavioral Haaith Racavery Services Page _i_of__t_
Type of Funding 2. System Development Monthe of Operation 1
Proposed Totel Clon! Capacity of Program/Sarvies: a New Program/Serrdce ot Expanaton New
Exsting Client Capacity of Pragran/Service: a Prepared by: Martha Paina
Clent Capacity of ProgranvGervica Expanded through MHSA: 60 Tetephone Number 406 885 0580
Cllont, FM & CG) Total Humber | Salary, Wages and Total Salaries.

Classification Function FTEs" of FTEs Overtime ner Fre™ | Wages and Overtime

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& New Additional Posldona

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2.00 FTE Case Mgritialsons | Casa Management/Llalson 1.05 50
5.00 FTE Family/Peer Partnar |Famiy!Peer Suppo 4.24 $0
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Total How Addidonal Posttions 2.25 5.63 $0]
¢. Tote) Program Pesttions 3.25; 5.53 $0

a Enter the number of FTE postions thal wil be etaffed with cllonts, family mombara or caregivers.
Bf Include any bi-lingual pay supplements  appicable), Round each smounl to the nearest whole dolar,

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SANTA CLARA VALLEY HBALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Bxhibit Sa - Budget Narrative
OA-O2: 60+ Behavioral Health Recovery Services
Funding Source: System Development
(65% of Total Coat)
County: Santa Clara Fiscal Year: 2005-06
Date: 12/23/05
A. Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
c. Housing
d. Employment and Education Supports
e. Other Support Expenditures
2. Personnel Expenditures
a. Current Existing Positions
b, New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a, Professional Services
b. Transl-ation/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
f, Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a, Exdsting Program Management
b. New Program Management
c. Total Program Management
5. Estimated Total Expenditures When Provider is Not Known 4 of 50 capacily starts in June, see phased budget 3,793
6. Tatal Proposed Program Budget $48,793

B, Revenues

1, Existing Revenues
a MediCal (FFP Oniy}
b. Medicare /Patient Fees/ Patent Insurance
¢. Realignment .
d. State General Funds
e. County Funds
f. Grants -
g. Other Revere
h. Total Existing Revenue

2. New Revenues .
a. MediCal (FFP Only) ™ Medicare / Medial 37% of Non-Starhip Cost $1,175
b. Medicare / Patient Feca/ Patient Insurance Medicare/MediCal 37% of Non-Startup Cost S392
c. State General Funds
d. Other Revenue
e, Total New Revenue

3. Total Revenue $1,567

C. One-Time CSS Funding Expenditures $17,008
D. Total Funding Requirements $64,244
E. Percent of Total Funding Requirements for Full Service Partnerships

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Case 2:90- “wt 00520. KJM-SCR | Document 3144-4 -
IT Sa—Mantal Heatth Services Act Community Services and Supports Budget Worksheet

County(les): Senta Glace County

Program Workplan # OA02

Program Workplan Name 60+ Behavioral Health Recovery Servioes

Types of Funding 2 System Oevelopment

Propozed Total Cllant Capacity of Program/Service:
Existing Client Capacity of Program/Servica:
Gllent Capacity of Programy/Servica Expanded through MHSA:

50 New Program/Service or Expansion

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Fiscal Year. 2000-07
Dale: 12/2305
Poga_1_of_1_
Montha of Operation 12
Now
Prepared by: Martha Paina
Telaphone Number. 408 885 6860

Community
Mental Health
Contract
Providers.

Other
Governmental
Agenclaa

Tot

A Expenditures
1. Cikent, Family Membar and Caregiver Support Expenditures
@, Clothing, Food and Hyglens
b, Travel and Transportation
& Hourlng
L Master Leases
¥, Subsidies
fii Vouchord
fv, Other Housing
d. Empleymant and Education Supports
®. Other Support Expenditures (provide dascription in budgel npralve)
1, Total Support Expenditures

2. Parsonnal Expermiltures
a. Curmnt Existing Personnal Expendituros (irom Stafing Detail}
b, New Additions! Personnel Expenditures (from Staffing Dalal)
c. Empiopos Banetits

dg. Total Personnel Expand ityres

3. Operating Expsand|tures
®. Professional Sanioos
b. Translation and Interpreter Sarvices
©, Travel and Transportation
d. General Offices Expenditures
¢. Real, Uiitles and Equipnrent
LC Mediation and Medical Supports
Q. Other Oparting Expsnees (provide description In budget natrative)
h. Total Operating Expenditures

4. Program Menagenent
8, Extting Program Managamant
b. New Program Manegentent
& Total Program Manspomont

5, Estimated Tote! Expendtures when service provider fp not known

$403,404

$0 x

6. Total P. d Program Bude

B. Revenuss
4. Exdating Revenues
o. MadbCal (FFP only)
Bb. Medicara/Patien| Fosa/Patent Insurance
c. Roallgameni
a. Stale Gonarsl Funds
@, County Funds
f. Grants
g- Other Revanua
h. Teta) Existing Rowonves
2. Nin Revenues
@& MadlCat (FFP only}
b. MedicersP aban! Fees/Patient Ineuranice
¢ Glan Ganersl Funds
d, Othor Revenue
& Total Hew Rereanus
3. Total Revenues

$101,540
$181,040

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yw $101,040
$101,049

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C. One-Time C98 Funding Expenditures

$114,170

$114,129

D. Tota! Furrecling Requiremenis

E. Percent of Tolal Funding Requirements for Full Service Partnerships

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Case 2-O RFID RE Ment Heath Seivices Ae

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ommunity Services and Supporte Staffing Datall Worksheot

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County(tea): Santa Gara County Fiscal Yaar, 2008-07
Program $Vorkplan # OAt2 Data: TENS
Program Workplan Name _ 60+ Behavioral Kasith Recovery Sarvioas Pago _ t_of_1__
My Type of Fumding 2. System Davelopmant Months of Oparation 12
Proposed Totel Citent Capacity of Program/Sarvica: 50 New ProgranvSenvice of Expanalon New
Existing Cilent Capacity of Program/Servies: oO Praparad by- Martha Paine
Client Capadlty of Program/Sarvies Expanded through MHSA: 5O Telephona Number: 408 885 8580
Cllgnt, FM & cal Total Numbar | Salary, Wages and Tota! Salaries,
Classlfl inction
sineallon Fu FTEs” of FTEs Overtima per FYE™ | Wages and Overlime
A Current Exteting Posilions
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Total Current Exlsilng Posilons 0.00 0.00 H
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3.00 FTE Case MgrLsisons Cease Management/Lialson 1.95 $0
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Tota New Addiilcnal Poaldons 3.25 5.53 $0
G, Total Program Poslitons 3.25 5.59 $0]
af Ente the number of FTE posltions thet wil be staffed with afents, famly member or caregivers,
OF Include any bHingual pay supplements (I appbeable). Round each amount Is the reacnst whole dokar.
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SANTA CLARA VALLBY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YAR EXPENDITURE PLAN

Exhibit 5a - Budget Narralve
OA-12: 60+ Behavioral Health Recovery Services
Funding Source: Syatem Development
(65% of Tatal Cost}
County: Santa Clara . Fiscal Year: 2006-07
Date: 12/23/05
A, Bxpendibures
i. Cllent, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
¢. Housing
d, Employment and Educaiion Supports
e. Other Support Expenditures
2. Personnel Expenditures
a, Current Existing Positions
b. New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
@& Professional Services
b. Trans)ation/ Interpreter Services
¢. Travel and Transportation
d. General Office Expenditures
@. Rent, Utilides and Equipment
I. Medication and Medical Supports
g. Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
2. Kodsting Program Management
b. New Program Management
c. Total Program Management
5. Estimated Total Expenditures When Provideris Not Known 4of50 capacity starts in June, sce phased budget $403,434
6. Total Proposed Program Budget 403,434

B, Revenues
1. Basting Revenues
a. MediCal (FFP Only)
b. Medicare/ Patient Fees / Patient Insurance
c. Reallgnment
d, State General Funds
e. County Funds
f. Grants
g. Other Revenue
h. Total isting Revenue
2 New Revenues

a. MediCal (FFP Only) Medicare/ MediCal 37% of Non-Startup Cost $143,955
b. Medicare / Patient Fees / Patient Insurance Medicare/MediCal 37% of Non-Startup Cost 447,985
¢. Stata General Funds
d. Cther Revenue
e. Total New Revenue
3. Total Revenue $191,940
C. One-Time CSS Funding Expenditures $114,129
D. Total Funding Requirements $325,623

E Percent of Tatal Funding Requirements for Full Service Partnerships

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Case 2:90-EXHESROMbtE MSIE Barvicds Ma conmdilis SéMese ana SUipHdrth BuagMWornbee oe 44 of 127
County(lea): ———--_Santa lara County Fiscal Year 2007-08

Program Workplan # OA-02 Dals: 122405

Program Workplan Nama 40+ Bshavioral Health Recovery Services Page _i_of_ 1
Typ of Funding 2. System Davelopmant Monihg of Operation 12
Proposed Tota) Cient Capacity of Program/Sanea: 50 _ New ProgranvSenica of Expansion New
Exiting Client Cepacity of ProgranvService: 0 Prapared by: Martha Pains
Cllent Capacity of Progran/Servica Expanded through MHSA: 60 Telephone Number, 403 885 8880
County Merial Other omen

Heaith Qovemmental
Department Agencise Cine

Total

A. Expanditures
1. Client, Family Member and Caregiver Support Expenditures
8. Clothing, Food and Hygiane
b, Travel and Transportetion
¢, Housing
1 Master Laases
b Subskiips
2 Voucher
by, Other Housing
9. Emplyment and Education Supparts
0. Other Suppor Expenditures (provide description in budge! narrative)
{. Total Support Expenditures $0 40 $o
2 Pereonnal Expenditures
&. Curront Existing Personnel Expenditures (from SlaMing Detallp
. New Additonal Parsonnet Expendtturss {from Staffing Datal)
¢. Emplayee Benefits -
d. Total Personnel Expenditures sO x $0

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3. Operating Expenditures
a. Profeasionad Services
b, Trondation and interprster Services
©. Trevel and Transporiation
d. Gonoral Office Expenditures
6. Ront, altos and Equipmaoni
1. Medicalion and Medical Supparts
0. Other Operating Expenses (previce deacription In budged nenativa)
h, Total Operting Expenditures 6 $0 $0

SEst SESS

4, Program Manegement
6, Extatiay Progrem Management
b. New Program Managemant

c. Total Program Manag

5. _Estimeted Tota) Expenditunve when service prowider Is nol mown $435,000 HS5

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|__8. Tota) Proposed Program Budget $455,000 sa $9 $434,

&. Revenues
7, Exfating Revenues
a. Med+Cal (FFP only}
b, MaditervPrtent FoowPeten Insumocon
Realignment
d, State Ganend Funct
8. County Funda
1. Gran
Q. Othar Revenue
h. Total Exdating Revenues 0 H #0
2 Mew Revenves
a. Nadl-Cal (FFP only} $182,600 $162,500
b. MedicaraPatient Foes/Patent Insurance $54,167 54,187
c Siete General Funda ®
d. Other Revenpe H
@, Total New Rlevenve $216,686
3. Tot! Ravenues 4218 Bas

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C. One-Time C85 Funding Expenditures $130,000 ‘noe
D. Total Funding Requirements $0 w 548,294

E. Percent of Total Funding Requirements for Full Service Fartnersh|

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: - - - - 0/30/08 Page 45 of 127
Case 2 OO iia Ve ainerteliae Go Rces Keron eh eonlgee wna sufpec Bintins Detall Workahesd

County(lea}: Sante Clara County Flacal Year, 2007-08
Program Workpian # OAt2 Data: 12/23/05
Program Workplan Name 60+ Behavioral Health Recovery Services Page i_of_t_e
Type of Funding 2. System Development —_ Month of Oparation 12
Propesed Total CEent Capacity of ProgramServiee: 50 New Program/Service or Expangion New
Existing Client Capacity of Program/Sarvics: 0 Prepared by: Martha Paine

Cllant Capacity of ProgranvServica Expanded through MHSA: 50 Telephones Number 408 685 8680

Cllont, FM & CQ! Total Number | Salary, Wages and Total Salevia,

Classifica netio
iReation Function FTEs” ofFTEs =| Overtime por FTE | Wegee and Overtime

A. Current Exlsting Positions

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Tolal Current Exleling Pouiilons 0.00
B. New Additional Pos|tons
0.50 FTE Paychialris: Madication Support 0.33
35.00 FTE Casa Manager Case Management 3.25
3.00 FTE Case Mpr/Liaisons = |(Cese MarnagementLiaison 1,95
5.00 FTE FamilyiPeet Partner |FamilyPeor Supper 325
Total New Additional Positlans 426 6.53
C, Tota! Program Positions 3.25 5.53

wf Entor tho aumber of FTE positions that wil bo siafled with cients, famiy mombers or careghears.
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SANTA CLARA VALLBY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA-02 60+ Behavioral Health Recovery Services
Funding Source: Syatem Development
{65% of Total Cost)
County: Santa Clara Fiscal Year: 2007-08
Date: 12/23/05
A. Expenditures
1. Cent, Family Member and Caregiver Support Expenditures
a, Clothing, Food and Hygiene
b. Travel and Transportation
c. Housing
d. Employment and EducaHon Supports
e, Other Support Expenditures
2 Personnel Expenditures
a, Current Existing Positions
b. New Additional Positions
¢. Employee Benefits
d, Total Personnel Expenditures
3, Operating Expenditures
a, Professional Services
b, Translation/ Interpreter Services
c. Travel and Transportation
d, General Office Expenditures
¢. Rent, Utilities and Equipment
f£ Medication and Medical Supports
g. Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a, Existing Program Management
b. New Program Management
¢ Total Program Management
5. Estimated Total Expenditures When Provideris NotKnown Full capacity of 50 455,000
6. Total Proposed Program Budget $455,000

B. Revenues
1. Existing Revenues
a, MediCal (FFP Only)
b, Medicare/Patient Fees/ Patient Insurance
c. Realignment
d. State General Funds
e. County Funds
f. Grants
g. Other Revenue
h. Total Existing Revenue
2 New Revenues
a. MediCal (FFP Only) Mecicare/MediCal 37% of Nor-Startup Cost $162,500
b, Medicare/ Patient Fees/ Patient Insurance Medicare /MediCal 37% of Non-Startup Cost $54,167
. ©. State General Funds
d, Other Revenue
@ Total New Revenue
3. Total Revenue $216,667

C. One-Time C38 Funding Bxpenditures $130,000
D. Total Punding Requirements $368,333
E. Percent of Total Funding Requirements for Full Service Partnerships

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OA-03 Senior Mobilo Assessment and Outreach

4. Complete Exhibit 4 (as required under Section IV response). Using the
format found in Exhibit 4, please provide the following summary:

Please refer to Exhibit 4 above.

2. Please describe in detail the- proposed program for which you are
requesting MHSA funding and how that program advances the goals of the
MHSA.,

The Mobile Assessment and Outreach Program will consist of a multidisciplinary
team with a point person that will mobilize resources to bring appropriate
services to clients. Assessments will be conducted by a team that can determine
medical, psychosocial and mental health service needs. A full time coordinator
will bring the resources together as needed through a virtual team of physicians
or nurses, social workers and therapists. Another important feature of the team
will be use of community liaisons to bridge the cultural gaps between health or
mental health professionals and potential clients.

A second function of this team will be to reduce barriers to the recognition of
mental health problems by older adults, their families and primary support
systems. This will be accomplished through outreach to individuals and
organizations that have regular contact with seniors. While all communities are
important, underserved ethnic and cultural communities, especially Latino,
Asian/Pacific Islander, and LGBTQ, are in need of increased attention due fo
historic and growing disparities related to the ethnic and cultural changes in the
communily.

The Mobile Assessment and Outreach Program will accomplish the following
transformation objectives:

« Reduce barriers to entry into mental caused by lack of symptom recognition,
lack of knowledge about available resources, lack of transportation and lack
of mobility due to physical limitations:

e Reduce disparities in access due to language, cultural or location by assuring
the appropriate composition and training of outreach and assessment teams;
and

« Improve assessment and triage through a multidisciplinary team approach
that examines physical, mental and psychosocial circumstances.

3. Describe any housing or employment services to be provided.

As noted previously, housing services will consist of assuring safe and adequate
housing. For the older adult, this will involve securing sufficient housing units
that are adapted for their physical, mental and socialization needs. This may

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also include subsidies or the investment in new housing units. (See H01).
Employment services will not the main focus, although securing employment for
transition age older adults will be included with adult programs. Socialization and
meaning daily actlvity will be emphasized through linkages with existing senior
centers and the development of programs within the Self Help Centers.

4, Please provide the average cost for each Full Service Partnership
participant including all fund types and fund sources for each Full Service
Partnership proposed program.

N/A

5. Describe how the proposed program will advance the goals of recovery for
adults and older adults or resiliency for children and youth. Explain how
you will ensure the values of recovery and resiliency are promoted and
continually reinforced.

This program advances the goal of recovery by assisting clients to get the help
they need in a timely manner and to help them link with a ful! continuum of
services to address their mental illness and other support needs. It reduces the
Special barriers to access of the older adult with limited mobility and poor access
to transportation. This outreach component of the program will normalize the
process of recovery and reduce stigma, thereby reducing these perceived
barriers to accessing care.

6. if expanding an existing program or strategy, please describe your existing
Program and how that will change under this proposal.

This program will create a new service for older adults in Santa Clara County.

7. Describe which services and supports clients and/or family members will
provide. Indicate whether clients and/or families will actually run the
Service or if they are participating as a part of a service program, team or
other entity.

Peer counselors, family members and community liaisons will be integral
members of the mobile assessment and outreach program. Each will be trained
to to be part of the mobile team and function in an interdependent manner,
appropriate to their role in the assessment process. Family and peers will be
vital to recognizing the difference between a brief episode of depression ar
anxiety and severe episodes of these conditions. Community liaisons will work
within these teams to facilitate reaching individual cultures, to de-stigmatize
mental illness and encourage care.

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10.

Describe in detail collaboration strategles with other stakeholders that
have been developed or will be Implemented for this Program and priority
population, including those with tribal organizations. Explain how they will

help Improve system services and outcomes for Individuals.

Mobile assessment and outreach will require formal linkages with primary care,
numerous Social Service agencies, designated mental health professionals
throughout the system, the publlc guardian's office and the justice system.
Additionally, both formal and informal linkages will be established with the
cultural and ethnic communities to assure their representation. Special attention
will be given to assuring that Latino and Asian/Pacific Island communities are
partners in this effort.

Discuss how the chosen program/strategies will be culturally competent
and meet the needs of culturally and ingulstically diverse communities.
Describe how your program and Strategles address the ethnic disparities
Identified in Part II Section II of this plan and what specific strategies will be
used to meat their needs.

These services will target the Latino and Asian/Pacific Islander populations that
have historically been underserved by the department. All services will address
the linguistic and cultural needs of these populations. Assertive outreach through
Social Services with an emphasis on Public Guardian and Adult Protective
Services, community based senior centers, faith based organizations and the
community at large will be initiated to identify and serve ethnic minorities through
this program. The Department will work closely with the Ethnic Minority
Committee of the Mental Health Board in reviewing the success at eliminating the
disparities in treatment.

Describe how services will be provided in a manner that is sensitive to
sexual orlentation, gender-sensitive and reflect the differing psychologies
and needs of women and men, boys and giris.

The program will work with existing community-based agencles with expertise in
serving the diverse population of the county, These organizations include
expertise in language, culture, sexual orientation, and gender-specific services.
Quarterly meetings will be held with these agencies and organization to review
program and make recommendations for improvement that will serve the needs
of these populations.

On-going collaboration will be developed with existing gender-based
organizations (such as the YWCA), and GLBTQ organizations (such as the Billy
deFrank Center). Community education will be offered to reduce the stigma
associated with issues such as HIV/AIDS, “coming out’, domestic violence, etc.,
through collaboration with various organizations. In addition coordination with
community centers will be increased, along with churches and other

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11.

12.

13.

14.

organizations that hold regular groups for men or women, such as interracial
groups for Gay Black Men and Asians.

Describe how services will be used to meat the service needs for
individuals residing out-of-county.

N/A

If your county has selected one or more Strategies to implement with MHSA
funds that are not listed in Section IV, please describe those Strategies in
detail including how they are transformational and how they will promote
the goals of the MHSA.,

N/A

Please provide a timeline for this work pian, including all critical
Implementation dates.

County Positions

December -January . Write job descriptions for new positions
February — March Human Resources approval, Board approval
April - May Recruitment and hiring of new positions

RFP

December-January Develop Request for Proposal service elements
February Publish Request for Proposals, Bidders
Conference

March 30, 2006 Proposals Due

April 1-15, 2006 Panel Reviews

April 30, 2006 Notice of awards of RFP

May 1-15, 2006 Contract development

May 16, 2006 Prepare Board Transmittal

June 7, 2006 Contracts services begin

Develop Budget Requests: Exhibit 5 provides formats and instructions for
developing the Budget and Staffing Detall Worksheats and Budget
Narrative associated with each program work plan. Budgets and Staffing
Detail Worksheets and Budget Narratives are required for each program
work plan for which funds are being requested.

a. Work plans and most budget/staffing worksheets are required at the
program level. Consistent with the balance of the work plans, some
services may not be part of a comprehensive program and should be
budgeted as a stand-alone program and work plan. An example of this is
Mobile Crisis, It is a countywide service avallable to a broad service

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population and may not necessarily be part of another program for a
priority population.

b. Information regarding strategies Is requested throughout the Program and
Expenditure Plan Requirements. Strategies are approaches to provide a
program/service. Multiple strategies may be used as an approach for a
single service. No budget detail is required at the strategy level. Examples
of strategies include self-directed care plans, integrated assessments for
co-occurring disorders, on-site services in child welfare shelters, and self-
help support.

15. A Quarterly Progress Report (Exhibit 6) is required to provide estimated
population to be served. This form witl be required to be updated quarterly
Specifying actual population served. Additionally, a Cash Balance Quarterly
Report {Exhibit 7) is required to provide information about the cash flow
activity and remaining cash on hand. All progress reports are to be
submitted to the DMH County Operations analyst assigned to the County
within 30 days after the close of the quarter.

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Community Services and Supports Three Year Expenditure Plan
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Counly(las}: Santa Clara County Fiscal Year: 2005-06
Program Workplan # OA-03 Dale: 1273/05
Program Workplan Name 80+ Mobile Asageamant & Culach Page _1_of_1_.
Fype of Funding 4. Full Service Partrariip Months of Opsration 1

Proposed Total CBen! Capacity of Program/Service:
Exleting Cllent Capacity of Program/Sarvice: o
Cllonl Capacity of Program/Sarice Expanded through MHSA: 125

425 _ New Progrem/Service or Expansion

New

Prepared by: Martha Paine

Talephone Number, 408 895 6880

Other
Governmental

Agencies

Community
Mental Health
Contract
Providarm

Tole

4. Expenditures
1. Silent, Family Member and Coregiver Suppor Expend/tures
a. Clothing, Food and Hyglana
b, Travel and Transportation
6. Houelg
| Moaator Losses
1, Suivsidiea
2 Vouchers
fy. Other Housing
¢. Empteyment and Educoten Supports
8. Other Support Expenditures {provide description in buriged narraths)

t. Tot Support Expenditures 40 0

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2 Poersonne Expencttures
a, Currant Exiting Personne Expenditures (from Staffing Detsi}
b. How Additonal Personnel Expenditures {from Staffing Detail)
c. Employes Bonatte

3. Totd Peronnet Exponditures wo 40

6B 6S

3, Operating ExpencRtures
B. Profetstanal Servings
b. Treneiation and Iaterprates Services
¢. Travel and Transportation
d. Genes! Office Expenditures
6. Ret, Uiiies and Equdement
f, Mediation and Madical Supports
g. Other Operating Expenses (provide description in budget narretiva)
h. Tota! Operating Exp

ditures x» HH

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4, Program Management
a. Exrting Program Management

6. New Program Managenon!

©, Tota! Progrem Manag onent

5. Extimated Total Experdtiures when service provider Is not known
8. Total Proposed Program Buriget

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$10,952

$10.02

B, Revonues
1, Exteting Revenues
8. MedCal (FFP only)
b Madicary/Paten! Foew/Patlent Insurance
& Realignment
4. State Genent Funds
oe. Counly Funds
f. Grants
@. Other Revenue
h. Total Eucrting Rurvonues # H
2. New Revanled
B. Mad-Cal (FFP ondy} 5167
>. Madicae/Patien Fees/Prtlant Insurance $64
c. State General Funda
d. Other Revanua
*. Total New Rarvonue Ra
3. Total Revenues S22

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C, One-Time C35 Funding Expendiuwss

D. Total Fundin [reverts $10,770

E. Parcent of Total Funding Requiremants for Full Services Partnerships

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‘ EXHIBIT § beMenta! Health Sarvices Aci Community Services and Supports Staffing Detall Worksheet

Countyiles): Senta Clara County Fiscal Year: 2005-08
Program Wevkplen # 04-03 Oate: 12245
j Program Werkplan Name ___ 60+ Mobile Assessment & Outragch Page_1_of__t_
‘ Typ of Funding 1. Full Services Partnarahip Months of Gparation 1
Proposed Total Client Capacity of Programy/Senvice; 125 New Program/Servics or Expansion New
Existing Crant Capacity of Program/Service; 0 Frepared by: Marths Palne
Clent Capacity of Program/Sarvice Expanded through MHSA: 125 Telaphone Number: 408 685 6860
Cliont, FM & cal Total Number | Salary, Wages and Total Salaries,

Clasalficalion Function FTEs” of FTEs Ovnciine oe FTE” | Wages and Overtime

A. Current Exloting Positions
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_ Tatel Current Existing Posttions 0.00 0.00 50

B. New Additional Positions

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025 FTE Reg Nursa Madical Suppext 0.08 $0
2.00 FTE Clinidan Therapy 0.50 $0
2.00 FTE Family PutGesa Mgr |Family Support'Case Management 0.50 $0
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9
Total New Additonal Positions 0.60 06a so
C. Total Program PosHions 0.50 0.63 40

@ Enter the number of FTE positions that wil be elafied with clenis, [amily members or careghars.
of Include any brEngual pay supplements (Ff applicable) Round each atourl to the neamst whole dollar,

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HBALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit Sa - Budget Narrative
OA-03 Mobile Assessment & Outreach
Funding Source: Full Service Partnerships
(25% of Total Cost)

County: Santa Clara

. Expenditures

1, Client, Family Member and Caregiver Support Bxpenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
c. Housing
d, Employment and Education Supports
e. Other Support Expenditures
2. Personnel Expenditures
a. Current Existing Positions
b, New Additonal Positions
c Employee Benefits
d. Total Personnel Axpenditures
3. Operating Expenditures
a. Professional Services
b. Translation/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent. Utilities and Equipment
£. Medication and Medical Supports
g- Cther Operating Expenses
h Total Operating Expenditures
4. Program Management
a, Exlsting Program Management
b. New Program Management
c. Total Program Management
5. Estimated Total Expenditures When Provider is Not Known

6. Total Proposed Program Budget

5, Revenues

1, Existing Revenues !
a. MediCal (FFP Only)
b. Medicare /Patent Fees/Patlent Insurance
c. Realignment
d, State General Funds
e, County Funds
f, Grants
g. Other Revenue
h. Total Existing Revenue
2. New Revenues
a. MediCal (FFP Only}
b, Medicare/Patient Fees/Patient Insur
c. Stale General Funds
d. Other Revenue
e, Total New Revenue
3. Total Revenue

C. One-Time CSS Funding Expenditures
D. Total Fureling Requirements
E. Percent of Total Funding Requirements for Full Service Partnerships

/

Fiscal

3 of 300 client capacity starts in Junc
See phased budget

Medicare/MediCal 33% of Non-Startup Cost
Medlcare/MediCal 33% of Non-Startup Cost

Year: 2005-06
Date: 12/23/05

$167

$10,769

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Case 2:90-@¥shli sa Ql bil Bonvicds RG WEDS bated unas oe ALSO/OB. fade 58 Of 127
County(les}: Sania Clara Gounty Fiscal Year 2007-08
Program Workplan # OA-3 Dals: foreaos
Program Workplan Name 60+ Mobile Assessment & Outraach Page _1_of_1_
Tyne of Funding 1. Full Serviea Parinarshio Monlha of Operation 12
Proposed Total Clien! Capacky of Progran/Servica: 125 New Program/Service or Expansion New
Existing Cilent Capacity of ProgranvSerice: o Prepared by: Marthe Pane
Client Capacity of Program/Servica Expanded through MHSA: 125 Telephone Number. 408 885 6380

County Mental Other nee
Health Governmental "Contract Totel

Department Aganetles Providers

A Expenditures
1. Client, Family Member and Caregiver Supper! Expenditures
a, Clothing, Food end Hygiene
b. Travel end Transportaven
¢ Houshg
|, Maslet Leases
2b Subsidies
H, Vouchers
iv, Other Housing
0, Emplaymen! and Education Supports
©, Otter Support Expondiiures (provide description in budget narrathva)
f Total Support Expanditurps i i sO
2. Personnel Eqenditures .
a. Current Exiting Porsonnal Expond#tures {from Staffing Detail}
b. New Additional Parsonnal Expenditures (irom Staffing Datal)
c. Empxyes Benetite .
0. Total Persoanal Eponditurss 50 0 . 50
3. Operating Expenditures
8. Professlonal Serriass
6. Transtaion and Intarpratar Services
c Traveland Transportation
d. General Offias Expenditures
6. Rent, Utter and Equipmant
f. Medication and Modical Supports H
g. Other Oparating Exp (provide descriplion in budge iva}
h. Total Opennting Expancitures x ho $a sO
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4. Program Manegerant
8. Exdsting Program Managemen
b, New Program Manegocent
¢. Total Progrem Managomeal $0 0
5. Estimated Total Expenditures when service provider Ie not known $100,000 $100,000
8. Total Proposed Program Budget $199,000 40 $0 $109,000
B. Ravenues
1. Exteting Revenues
a. Medi-Cal {FFP onty)
b. Modicera/Patient Foes/Patant insurance Ho
c. Realignment w
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@. Slais Genere! Funds
6. County Funds
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@ Other Rovanua ‘ : .
b. Total Exdeling Renrenues 0 3 % $0
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b. Medicarns/Patent FoeaPatent Insurance B34 $6,333
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¢. Ofte Rarvenwe i
2. Totel New Revenue 33,3
3. Toll Revenues $333

C, One-Time C88 Funding Expenditures »

D. Total Funding Requirements ur £46,607

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E. Percent of Total Funding Requirements for Full Service Partnerships Page 483

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. ‘OQ-cy- - - - 10/30/08 Page 59 of 127
Case 2:90 Fi? b eaentr lise tces Aer CS sity Services wd Supe aaitng Botall Workehesk

County(tes}: Samia Clara County Fiscal Year: 2007-08
Progrem Workplan # 04.03 Dale: 1272305
Program Workplan Name 80+ Mobis Assessment & Cutreach Pege_4_of_t_
Type of Funding 1. Full Serice Partnership Months of Cperation 12
Proposed Total Client Capacity of Program/Sarvice: 125 New Program/Servios or Expansion New
Existing Client Capacity of Program/Service: 0 Prepared by: Martha Paina
Client Capacity of ProgramService Expanded thraugh MHSA: 126 Telephone Numbor: 408 885 £000
Client FM & CG! Total Number | Salary, Wages and Total Galaree.
Clnaslication Function FTEs” ofFTEs =| Overtime par Fre” | Wages and Overtime
AL Current Existing Positions
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Total Currant Exteting Positions 0,00 0.00 HO
B. New Additional Positions
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0.25 FTE Reg Nurse Medical Support 0.08, HH
2.00 FTE Ciinictan Therapy . 1.60 0
2.00 FTE Family Pi/Case Mgr (Family Support/Case Managament 0.50 H]
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Total Mew Additonal Positions 0.50 0.63 HO
C. Total Program Posltions 0.60] 0.63 aa $0

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Bf Include any bHinguel pay supplements (¥ applicable). Round each amount bp the nearés! whole dolar.

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SANTA CLARA VALLEY HBALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YBAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA-03 Mobile Assessment & Outreach
Funding Source: Full Service Partnerships
(25% of Total Cost)
County: Santa Clara Fiscal Year. 2007-08

Date: 12/23/05
A, Expenditures
1, Client, Family Member and Caregiver Support Expendihures
a, Clothing, Food and Hygiene
b. Travel and Transportation
c. Houslng
d. Employment and Education Supports
e. Other Support Expenditures
2 Personnel Expenditures
a, Current Existing Posltions
b. New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b. Transl,aHlon/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
f, Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a. Existing Program Management
b. New Program Management
c. Total Program Management
©. Estimated Total Expenditures When Provider is Not Known 5 of 500 client capacity starts in June $100,000
6. Total Proposed Program Budget See phased budget $100,000

B. Revenues

1, Existing Revenues
a. MediCal (FFP Only}
b, Medicare/Fatlent Fres/ Patient Insurance
c. Reallgnment
d. State General Funds
e. County Funds
f. Grants
g. Other Revenue
h, Total Existing Revenue

2 New Revenues
a, MediCal (FFF Only) Medicare/MediCal 33% of Nor-Startup Cos! $25,000
b. Medicare/Patient Feea/ Patent insurance Medicare/MediCal 33% of Non-Startup Cost $8,333
c. State General Funds
d, Other Revenue
e Tofal New Revenue

3. Total Revenue 53,333

C, One-Time CSS Funding Expenditures $0
D. Total Funding Requirements 566,667
E. Percent of Tota) Funding Requirements for Full Service Parinerships

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EXHIBIT Sa—Mentel Health Services Act Community Services and Supports Budget Worksheet

Countylag}: Santa Clara County

Program Workplan # OA18

Program Workplan Name G+ Mobiie Assessment & Outreach

Type of Funding 1. Full Sanicea Partnership

Proposed Total Cllant Capacity of ProgranvService:
Existing Cllant Capacity of ProgranvServica:
Clem Capacity of Program/Service Expanded through MHSA;

Flacal Year: 2000-07
Date: 1272305
Page _i_of_ of
Monlhs of Operation 12
125 New Program/Service of Expansion New

0 Prapared by: Martha Palna

-—____|D-Fotel-Aunding Requirements —

E. Percent of Total Finding Requirements for Full Service Partnerships

Telsphona Number 408 886 6880

Other
Governmental
Agenclas

Community
Menta) Health
Contract
Proviters

Totat

A Expenditures
1. Cilent, Family Nember and Caregher Gupport Expenditures
a, Clothing, Food and Hygiene
b. Travel ond Transportation
¢. Rousing
L Master Leases
I. Subsidise
2. Vouchers
by. Other Housing
¢. Employment and EducaBan Supporte
6. Other Support Expenditures (provide desorption In budget namathe)
f, Total Support Expenditures

2s

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2 Personnel Expenditures
4, Curent Existing Personnel Expenditures (from Staffing Datall)
b, How Additional Personnel Expenditures (from Staffing Dotal)
& Employes Banafts
_ ¢. Total Personnel Expenditures

SE 88

3. Opening Expenditures
6. Professional Services
b. Tranwaton and indstprrtn: Sorvdoos
¢. Travel and Transporation
d, General Offes Expenditures
8. Rank Litiites and Equipment
f Meadiogten and Mecleal Supports
g- Other Operating Expenses (provide description in buxiget narrative)
h. Total Openting Expandkurss

4, Program Management
a. Existing Program Management
>. Many Program Management

¢ Tots! Program Marary

5. Estimated Tota! Expendiures wher service provider [a nol known

$78,398

5. Total Proposed Program Bixiget

$78,389

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Ses S86 S £888

376,

A. Revenues
1, Edeung Revenues
a, ModHCal (FFP only}
b. Medicare/Patent Faes/Patiert inguranca
c Reatgnment
d. Stale General Funds
6. County Funds
f. Grants
9. Cthar Revenue
b. Total Exisling Revenues
2. Haw Porvenues
a, MedbCal (FFP only}
b. Madican/ Patient Fees’Patient insurence
¢. Slates Genoral Funds
d, Othor Revenue
6. Tote Hew Revenue
3. Total Revenues

BE S886

es

©. One-Time C33 Funding Expenditures

Page 486
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EXHIBIT 5 b-Mental Health Services Act Community Services and Supports Slaffing Detall Workahast

County{laa} Santa Clara County Flaca! Year: 2008-07
Program Workplan # OA-03 Date: 127208 ‘
Program Workplan Name 60+ Modiie Assessment & Cutrsach Page_ tof
Type of Funding 1. Full Serica Partnership Montha of Operation 12
Proposed Tolal Cont Capecity of ProgramService: 125 New Program/Service or Expansion Now
Exloting Client Capscity of ProgranvSarvice: 0 Prapared by: Martha Paine
Cllent Capacity of Program/Service Expanded through MHSA: 135 Tefephons Number: 408 685 6850
‘ Cllant, FM & CG} TotatNumber | Selary, Wages and Total Salaries.
Classification Function FTEs” ofFTEs =| _ Overtime ter FTE” | Wages end Overtime
A Current Extading Poslttons
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$0
$0
fo
Le wu
Total Current Existing Poslions 0.00 0.00 s/
5. Mew Additonal FoslHona
0.25 FTE Peyehlatist Medication Support 0.06 $0
0.25 FTE Rog Nurse Madical Suppor : 0.06 $0
2.00 FTE Clinician Therapy 0.50 £0
2.0) FTE Family PtriCase higr |Famiy Suppert/Case Management 0.50 x)
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ww
30
$0
4
Total Hew Additional Poaliions 0.50 6.03 to
C. Toba Progeam Positions 0.50 ay

a Enter the number of FTE postions that wil bo etalfed vith clients, family mambens or caroghore.
MF lnciuda any blingual pay suppononts (if applicable), Round each amount to the nearest wholo dollar.

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SANTA CLARA VALLEY HBALTH é& HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Budubit Sa - Budget Narrative
OA-03 Mobile Assessment d Outreach
Punding Source: Full Service Partnerships
(25% of Total Coat}
County: Santa Clara Flscal Year. 2006-07
Date: 12/23/05
A. Expenditures
1, Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
c, Housing
d. Employment and Education Supports
e. Other Support Expenditures
2, Personnel Expendihures
a. Current Bsdsting Positions
b. New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3, Operating Expenditures
a. Profeastonal Services
b, Transl;ation/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
{. Medication and Medical Supports
g- Other Operating Expenses
h Total Operating Expenditures
4, Program Management
a Existing Program Management
b. New Program Management
c. Total Program Management
5. Estimated Total Expenditures When Provider isNatKnown 5 of 500 client capacity starts in June $76,389
6. Total Proposed Program Budget See phased budget $76,389

B, Revenues

1. Existing Revenues
a. MedlCal (FFP Only)
b, Medicare/ Patient Fees/ Patient Insurance
c. Realignment
d. State General Funds
e. County Funds
f£, Grants
g. Other Revenue
h. Total Existing Revenue

2. New Revenues
a. MediCal (FFP Only} Medicare/MediCal 33% of Non-Startup Cost $19,097
b. Medicare/ Patient Fees / Patient Insurance Medicare/MediCal 33% of Non-Startup Cost $6,366
¢. State General Funds
d. Other Revenue
€, Tol] New Revenue

3. Total Revenue : $25,463

C One-Time CSS Funding Expenditures 50
D. Total Funding Requirements $50,926
B. Percent of Total Funding Requirements for Full Service Partnerships

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EXHIBIT Sa—Mental Haalth Serv mu tose an rks 64 of 127
Case 2:90.04,00520-KIN-SCR. DOCUTeNE & Pana “SHER REPOS IPH ge 4 of
Program Workplan 4 OA-03 Data: 12/2005
Program Workplan Nama £0+ Mobita Assesament & Outreach Page_f_of_ 1
Type of Funding 2. System Development. Montha of Operation 1
Proposed Total Cfanl Capacity of ProgramService: 188 New Program/Serviog or Expansion New

Extsting Cant Capacity of Program/Sarvice:
Clant Capacity of Program/Saryice Expanded through MHA:

Prepared by: Martha Paine

Telephone Number 408 985 6960

Other
Goverinmintial
Agencies

Community
Mental Haalth
Contract

Providsre

Total

A. Expenditures
1. Cltant, Famlty Member ard Garagher Support Expenditures
& Clothing, Food and Hygiene
6. Torvel and Transportatan
c. Housing
L Mastar Logsas
A. Subsidies
a. Vouchers
hy. Other Housing
2, Employment and Education Supports
8. Other Suppor Expendituras (provide description if budget narratha}

{, Telal Support Expenditures

2. Parsonnal Expenditures
8. Current Existing Porsonnel Expendiuros (from Staffing Detail}
b. Now Additonal Personnel Expenditures (from Staffing Detal)
c, Employes Benafils

¢. Total Personnel Expanditures

4. OperaUng Expenditures
8. Professions! Services
b. Trangation and Interpreter Services
¢. Travel and Transportation
¢. Gana! Office Expanditures
©. Rent, Utilities and Equipment
f. Medication and Modfogl Supports
g. Cthar Operating Expenses (provide deseripton in budge! narralts)
h. Total Operating Expenditures

4. Program Manager nt
4, Exbthg Program Management

b. Mew Program Management
&. Total Program Menagoment

5, Estimated Total Expenditures when service prowider le not known

}__ 8. Tote! Proposed Propram Buxiget

B. Revenues
1. Exiating Revenucs
a, Mad-Cal (FFP oniy}
b, Madkara/Petent Fees/Paltent Insurance
¢. Roalignmend
d. Slats General Funds .
a. County Funds
f. Grants
g- Other Bovonug
h. Tolel Exbeting Revenues
2 Now Revenues
a MadhCal (FFP only)
b. MadicanvPatiem Feas/Pabent Insurance
& Stats Genes! Funda
dq, Othay Revence
8. Tote! New Revonue
3. Total Revenues

$250

es

C. One-Time CSS Funding Expenditures

Lom | on
eee st® op esexe Eelees lees sess lsees Seemese #8

D. Total Funding Requirements

~~ [E Percent of Tots Fonding Requirements tor Full Service Partnerships

318155

cl les

$70,155

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Case 2:9 Gxen® 8bafeniki HvbnibSeMices Aktskinanylsahad ate subpleredbfahg B6Gworrsiaee O5 Of 127

Counlyf{ies): Santa Clara County Flacal Yaar 2005-08
Program Workplan # OA03 Date: IZ
oo Program Workplan Name 60+ Mobis Azsecameni & Outreach Pags_1_of_1__ .
. ) Type of Funding 2. System Development Montha of Opsraiion 1
Proposed Total Cllant Capacity of ProgranySarvice: 188 New Program/Service or Expansion New
Exdating Cent Capacity of Program/Serviea: a Prepared by: Martha Palne
Cllent Capactty of Program/Servies Expanded through MHS,A: 168 Talephona Number, 408 BBS 6580
Client, Ft & CG] Totel Number Salary, Wages and Total Salaries.
Insnlf ction
¢ cation Fun FTEs” of FTEs Overtime per FTE” | Wages and Overtime
A. Current Exlating Posldons
Hw
%
NH
wo
H
so
»
“
Hw
w
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x
=
=
Total Current Existing Posttions 0.00 0,00 »
B. New Addidional Positions
_ 10.25 FTE Psychiatrist Medication Support 0.03 sal
\ [0.25 FTE Reg Nurss Medical Support 0.08 0
2.00 FTE Cliniclan Therapy 0.75 go
2.00 FTE Family Pt/Casa Mgr |Family Support(Caso Management 0.75 ho
HO
HO
0
Ho
Hw
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0
0
fo
0
$6
0
Total New Additional Foattions 0.76 0.4 $0
iC. Total Program Positiona 0.76 0M $0

af Enter the numba of FTE positions thal wil be staffed with cBenta, famby mamber or

caregtvera.
Y Inchide any blinguol pay supplements (1 appticable). Round each amount to the nasrest whole dollar.

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA-(G Mobile Assessment & Cutreach
Source: System Development
(37.5% of Total Cost)

County: Sante Clara

A. Bxpend| tures

1. Client, Family Member and Caregiver Support Expenditures
a, Clothing, Food and Hygiene
b. Travel and Transportation
¢ Housing
d. Employment and Education Supports
e. Other Support Expenditures
2 Personnel Expenditures
a, Current Existing Positions
b, New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b. Trans] ation/ Interpreter Services
c Travel and Transportation
d. General Office Expenditures
e. Rent Utilities and Equipment
f. Medication and Medical Supports
g. Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a. Existing Program Management
b. New Program Management
¢. Total Program Management
5. Esthmated Total Expenditures When Provider is Nol Known
6. Total Proposed Program Budget

B. Revenues

1, Fadsting Revenues
a. MediCal (FFP Only)
b. Medicare/ Patient Fees/ Patient Insurance
¢. Realignment
d. Slate General Funds
e. County Funds
£. Grants
g. Other Revenue
h Total Existing Revenue
2. New Revenues
a, MediCal (FFP Only)
b, Medicare/ Patient Fees/ Patient Insurance
c. State General Funda
d, Other Revenue
e, Total New Revenue
3. Tata] Revenue

. One-Time CSS Funding Expendlhures
D. Total Funding Requirements
B. Percent of Total Funding Requirements for Full Service Partnerships

Fiscal Year-
Date:

5 of 500 client capacity starts in June
See phased budget

Medicare/MediCal 33% of Non-Startup Cost
Medicare/MediCal 33% of Non-Startup Cost

2005-06
12/23/05

$16,488
$16,488

$16,155

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Case 2:90- Gy Oe AK IM SCR

tal Health Services Act

Program Workplan OA-G

Program Worlgdan Nama 60+ Mobis Assessment & Outraach
Type of Funding 2. Syslem Devalonment

Proposed Total Citent Capacity of ProgramyService:
Existing Clon Capacity of ProgranvService:
Cllent Capacity of Program/Servica Expanded through MHA:

Document 3144-4

Filed 10/30/08
Community Services and Supporta Budget Workahest

Countyjles): Santa Clara County

Flecal Year

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2007

Date:

Moxiths of Oparaton
188 New Program/Service or Expansion

Prepared by:
Telephone Number: 408 885 6680 _

12/20/05
Pags_i_of_t

iz
New

_Martha Paina _

Other
Governmental
Agencies

Community
Martel Health
Contac

Providers

Total

A Expendillures
1. Cllent, Family Member and Caregiver Support Expanditures
a, Clothing, Food and Hyglona
db. Trevet and Transporta ton
c. Housing
| Maater Legees
1, Subsidies
@. Vouchore
hy, Other Housing
d, Employment and Education Supports
a, Other Support Expenditures (provide deteription In budget narrates)

I, Total Support Expendituras

2. Personnel Expenditures
a. Current Existing Porconnal Expondiures (from Stalfing Dotua)
b. New Addivional Personnel Exponditures (fram Staffing Dotall)
c. Employee Banetts
d. Total Persone! Expenditures

3. Operating Expendiuras
6. Profesional Senvioas
b, Translation and intarpnetor Services
c. Travel and Transportation
d. Geceral Office Expenditures
a. Rent Uilitee and Equipment
f, Mediation and Medical Suppects
g- Other Oporating Expeneos {provide description in budget narrative)
h. Total Oparating Expenditures

SBSSs BSE SRESBSES BE

SK ¢

4 Progen Management
8. Exiting Progrem Management
b. Mew Program Management
&. Total Program Mi

5, Eatirated Total Expenditures whan warvice pr lp not kh

$114,563

911453

6, Total Proposed Program Budipet
B. Revenues
1, Exleting Revenuse
a. MadhCal (FFP onty)
b, Medicara/Patient Foos/Patent Insurancs
¢, Realgnmant
d. Slate General Funds
0. County Funda
f. Grants
g- Other Revenue
4. Total Existing Perwnenuee
2. Meow Frvvenuet
0, Ma-Gal (FFP onty}
D. Maore Potent Fees Prien Ineurarce
¢. State General Funds
0. Otver Revenue
©. Total Hew Revenue
3. Total Revenues

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$36,104

C. One-Time 699 Funding Expenditures

Tal Euinding Requinaments

E. Parcent of Total Funding Requirements for Full Gervice Partnerships

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wee”

Case 2:9Cexh@ b-didntarHvbnh Gertices AY UGMHUR sarnicor ata supplies Beathhig Doral Worker” 68 of 127

Counlty{ies): Sania Clara County Fiscal Year. 2008-07
Program Workplan # OAS Date: 122305
Program Workplan Name bO+ Mobile Assasamant! & Outrsach Page_tof_1_
Type of Funding 2 Syntsm Development Months of Operation iz
Proposed Total Cant Capacity of ProgranvSarvice: 188 New ProgramyService or Expanaion New
Existing Cfen! Capacity of Program/Service: Oo Propared by: Martha Palne
‘Giant Capacity of ProgranyServica Expanded through MHSA: 188 Talaphone Number: 409 686 6880
Cian, FM & CG! Total Number | Balsry, ¥ and Total Salaries.

Clanalfication Function FTEs” of FTEs Overtime or FTE © | Woges and Overtime

A Current Existing Positions
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Total Current Existing Positens 9.09 0.00 4

B, Mow Additional Postions

: 10.25 FTE Psychiatriat Medication Support 0.09
0.25 FTE Reg Nurse Madieel Support 0.00, $a
2.00 FTE Chaicisn Therupy 0.75| $0
2.00 FTE Family PtiGase Mgr |Family Support'Case Management 0.75 w
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®
Total New Additional Posltions O75 0.B4 50
C. Total Program Positions 0.76 0.94 0

@ Enter the number of FTE positions that will bo stovfod with cllonts, famlly mambers or caregivers,
Of incdude any b+ Dngual pay suppiementa (i appicabla), Acund each amount in the nasrest whole dollar.

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES 4 SUPPORT THREB YEAR EXPENDITURE PLAN

Bxhibit Sa - Budget Narralve
O43 Mobile Assessment & Outreach
Funding Source; System Development

(37.5% of Total Coat)

County Santa Clara

A. Expenditures
1, Glient, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
Bb, Travel and Transportation
c. Housing
d. Employment and Education Supports
e, Other Support Expenditures
2 Personnel Expenditures
a, Current Existing Positions
b. New Additional Positions
c. Employee Benefits
d, Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b. Transl-ation/ Interpreter Services
© Travel and Transportation
d. General Office Expenditures
e, Rent, Utilities and Equipment
f. Medication and Medical Supports
g Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a. Easting Program Management
b. New Program Management
c. Total Program Management
5. Estimated Total Expenditures When Provider is Not Known
6. Tota] Proposed Program Budget

B. Revenues

1. Existing Revenues
a, MediCal (FFP Only)
b. Medicare/ Patient Fees / Patient Insurance
¢. Realigrunent
d, State General Funds
e. County Funds
f. Grants
g- Other Revenue
h. Total Eodsting Revenue

2 New Revenues
a. MediCal (FFP Only)
b, Medicare/ Patient PFees/ Patient Insurance
¢. State General Funds
d. Qther Revenue
e. Total New Revere

3. Total Revenue

C. One-Time CSS Funding Expenditures
D, Tolat Funding Requirements

5 of 500 client capacity slaris in June
See phased budget

Medicare/MediCal 33% of Non-Startup Cost
Medicare/MediCal 33% of Non-Startup Cost

E. Percent of Total Funding Requirements for Full Service Partnerships

2006-07
Date: 12/23/05

$714,583
$114,583

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Case 2:90-cv-00520-KJM-SCR Document 3144-4 Filed 10/30/08 Page 70 of 127
EXHIBIT 6s—Mental Health Services Act Community Services and Supports Budget Worksheet
County{lea}: Santa Clara Coumy Flacal Year, 2007-08
Program Workplan # OA-3 Date: 12/23/08
Program Workpten Name 60+ Mobs Asssasmont & Outreach Page_1_of_1_
Type of Funding 2, Syalam Development Months of Operation 12
Proposed Totel Clani Capacity of ProgranvService: 184 New Program/Sarvica or Expansion New
Existing Cliend Capacity of Prograny/Sarvice: o Prepared by: Martha Paine

Glan! Capacity of Program/Service Expanded through MHSA: 186 Telephone Number, 406 685 680

Community

\ County Mental Other
Mental Health
Health Governmental Contract Total

Dapartmeil Aguncles Provid

ee

A. Expend|tures
1. Cilant, Family Member and Caregher Support Expanditures
8. Clothing, Food and Hyghine
b. Travel and Transportation
c. Rousing
L Masier Lensgs
LL Subsidies
IL Vouchors
kh, Other Housing
d. Employment and Eduestion Supports
6. Other Suppart Expenditures (provide description in dutigal nametts)
i Total Support Expanditurgs $0 4 $a
2 Personne Expenditures
8. Current Existing Porsonne! Expenditures (from Salting Detall)
b. New Addivonal Personnel Expanditures (from Staffing Dele)
¢. Empioyes Borafis
d. Tota! Personnel Expenditures a uM $a
4. Opensting Expenditures
8. Professional Sarvicss
i b. Trenslation and inlesproter Services
& Trevel and Transporlation
d. Goneral Ofee Expancitures
@, Reent, Laiities and Equipment
F. Mediantian and hledical Supparts.
g. Other Operating Expantes (provide description In budget aamattva)
h. Total Opormting Expenditures #0 0 4
4 Program Management
a. Existing Program Management
b. New Program Managemant
c. Tots! Progrem Management $o $0
5, Extimated Total Expenditures when earvice provider Ly not k $150,000 3150.000
6. Total Proposed Program Budget 160,000 fo # $130,000
B. Revenues
1. Exteting Revenues
a. Med-Cel (FFP only)
b. Medicare/Patian! Fees/Patent Inaurance
c. Realignment
d. Stats General Funds
@. County Funda
f Gran
9. Other Revenue
h. Total Exdsting Revenues 30 %
2. New Revenues
a. Medi-Cat (FFP ony} $17,500 $37,500
b. ModaanvPatient Fees/Patien! Insurance $12,500 $12,500
c. State General Funds 2
6. Other Revenue 50)
©. Total New Revanue $50,000
3. Total Revenues $50,000] -

C. Gng-Thne C35 en —_ fo
z

JE. Percent of Total Funding Requirements for Full Service Partnerships

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Case 2:90-cv-00520-KJM-SCR Document 3144-4 Filed 10/30/08 Page 71 of 127
EXHIBIT 5 b—Memtal Health Services Act Community Services and Supports Staffing Detall Worksheet

County(lea}: : Santa Clara County Fiscal Year: 2007-08
Program Workplan # 0A13 Gate: 12/24/05
Program Workplan Name G0+ Mobile Assessment & Quireach Page _ 1_of__t__
Type of Funding 2. System Developrant Montha of Operation 12
Proposed Total Client Capacity of Program/Sarvice: 1B8 New ProgranvService or Expansion New
Enlating Client Capacity of ProgramSarvica: 0 - Prepared by: Martha Paine
Cilant Capacity of ProgramySanvica Expanded through MHSA: 188 Telaphone Number: 408 8a5 8ag0
cl FMA cal Total Humber end TolM Salaries.
Clasalfication Function eee of FTEs Ovettine per FTE™ Wages and Overtime
A Current Eodating Poalifona
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$0
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0
3
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HH
$0
50
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x»
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iQ
Tote! Current Existing Positions 0.00 0.00 s
&. New Additional PosHions
0.26 FTE Psychiatrist Maechcabon Support 0.08
0.25 FTE Rag Nurse Macheal Support 0.06 $0
2.00 FTE Clinician Therapy 0.75] %
2.00 FTE Family PtriCase Mgr |Family SupportfCase Management O75
- H
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Total New Addiional Postiona O75 ao 50
GC. Total Program Positions G75 0.54 #0

w Enter the number of FTE positions Inet will ba ¢laffed with cllants, famity mombers or caregivers.
OY Inctude any belinguel pay aupplemonta (i apolicoble). Round each amount bo the nearest whole dollar.

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTHM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA-03 Moblle Assessment dc Quireach
Funding Source: System Development
(7.5% of Total Cost)
County: Sanla Clara Fiscal Year.

Date:
A. Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b, Travel and Transportation
¢. Housing
d. Employment and Education Supports
e. Other Support Expendibures
2. Personnel Expenditures
a. Current Edsting Positions
b, New Additonal Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b. Translation Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e, Rent, Utilities and Equipment
f, Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4, Program Management
a. Existing Program Management
b. New Program Management
c. Total Program Management
5. Estimated Total Expenditures When Provider is Not Known 5 of 500 client capacity starts in June
6. Total Proposed Program Budget See phased budget

B. Revenues

1. Eodsting Revenues
a. MedICal (FFP Only)
b. Medizare/Patient Fees/ Patient Insurance
c. Realignment
d. State General Funds
e. County Funds
f. Grants
g. Other Revenue
h. Total Existing Revenue

2. New Revenues
a. MediCal (FFP Only} Medicare/MediCal 33% of Non-Slartup Cost
b. Medicare/ Patient Fees/ Patient Insurance Medicare/MediCal 33% of Non-Startup Cost
c. State General Funds
d. Other Revenue
, Total New Revenue

3. Total Revenue

C. One-Time C35 Funding Expenditures

D. Total Funding Requirements
E. Percent of Total Funding Requirements for Full Service Parmerships

2007-08
12/23/05

337,500
£12,500

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Case 2:90- “ove 00520 KJM-SCR Document 3144-4 ‘Filed 10/30/08 Page 73 of 127
iT GaxMental Health Services Act Community Services and Supports Budget Worksheet

Countyiles): Santa Clara County Flacal Yaar.

Program Workplan # OA-D3 Date: {2723/05

Program Workplan Name 60+ Moble Assessment & Ouiraach Page_i_of_1_
Type of Funding 3. Outrsach and Engagement Months of Operation 1
Proposed Total Clan! Capacity of ProgranyServica: 188 _ New Program/Sarice or Expansion New
Existing Caenl Capecity of Program/Gervice: a Prepared by: Martha Pals

Cilant Capacity of Program/Servica Expanded through MHSA: Telephone Number: 408 885 6880

Community
Mental Health
Contract

— Providers

2006-4

Other
Gower mani Lal
Agencies

Total

A. Expenditures
1, Gllent, Family Nember and Caregiver Support Expenditures
4. Clothing, Food and Hygiene
b, Treval aad Traneporlation
¢. Housing
L Master Lognos
il. Subsidiss
I. Youchs rm
ty. Other Houslng
d. Employment and Education Supports
6. Othor Support Expenditures {provide deseriation In budgal narrative}
t, Total Support Expenditures
2. Personnel Exoencttures
@ Current Existing Personnel Expenditures (om Staffing Dell)
b. Now Addition Porzcanal Expondtiurea (irom Stalfing Cotal]
c Employes Barafite
d. Total Pareonned Experittures:
3. Opersting Expenditures
6. Profeasional Seniesa
Bb, Trandatan and Interpreter Services
¢. Trrvel and Transportation
d, General Offica Expenditures
©, Rant, Wiles and Equipment
f. Medication and Madical Suppocts
g- Other Operating Exponses (provide desaription in budge! narrative}
h Total Gpernting Expendituras
4. Program Nanegement
8, Exlating Program Monogamont
6. New Program Memagemond
¢. Tolal Program Managemrerd
§__ Estimriod Total Expenditures when serdice provider bs not known
8, Total Proposed Program Buriget_
B. Rovenues
1. Exdating Revenues
@ Medl-Cal (FFP only}
b. Modiana/Patlen! FeetPabten Insurance
c. Realignment
d. Stale General Funds
6, County Funds
i Grote
Q. Other Revenue
h. Totol Existing Revanues
2. New Favenges
8. Med-Cal (FFP ondy)
b. Mediciny/Pattent FeaaPatent Ineurance
¢. Stele Genera! Funda
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3, Tolal Revenvee
C. One-Time C3S$ Funding Expendiures

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D. Total Funding Requirements

E. Percent of Total Funding Requirements for Full Service Partnershi

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EXHIBIT § b-Menta! Health Services Act Communtty Services and Supports Staffing Delall Workehest

Countytiesk: Santa Clara County Fiscal Year. 2005-08

Program Workplan # OA03_ Data: 12/2306
Program Workplan Name 80+ Mobile Ansanacient & Ouirsach Page _ f_of __1__

Type of Funding 3. Outreach and Engagement Months of Operation {
Propored Total Cllent Capacity of Progrun/Sarvice: 188 Now ProgranvService or Expansion New
Exdsting Client Capacity of Frogram/Senvice: 0 Prepared by: Martha Paine
Cisnt Capacity of ProgranyServics Expanded through MHSA: 188 : Telaphons Number. 408 685 8480
Clasalfication Function Clan FM & CG! Total Number | Salary, Wages and Total Galeriee.

FTEs” of FTEs Overtime per FTE™ | Wages and Overtime

A Current Exlating Positions

Total Gurrent Existing Posltionsa 0.00 0.00

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B, New Additional Poasltions

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0.25 FTE Reg Nurso Medical Support 0.09 $0
2.00 FTE Clinictan Therapy 0.75 +0
2.00 FTE Family PiCase Mgr |Family Supporl/Casa Management 0.76 x
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Total New Additional Positions 0.765 0.94 HO

C. Total Program Posttions "9.75 0,94

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af Enler the number of FTE postions that wil be stared with cents, famity members or caregivars.
OF Include any bilingual pay supplements (W applicable). Round each amount to the nearos] whole dollar.

Aree

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SANTA CLARA VALLAY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibil 5a- Budget Narrative
OA-0G Mobile Assessment & Outreach
Funding Source: Outreach é Engagement '
(37.5% of Total Coat}
County: Santa Clara Fiscal Year 2005406
Date: 12/23/05
A, Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
6, Travel and Transportation
¢. Housing
d. Employment and Education Supports
e. Other Support Expenditures
2 Personnel Expenditures
a, Current Exdsting Positions
b. New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b. Transl;ation/ Interpreter Services
c. Travel and Transportation
d, General Office Expenditures
e, Rent, Uslities and Equipment
f. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a. Existing Program Management
b. New Program Management
c. Total Program Management
5, Estimated Total Expenditures When Provider is Not Known 5 of 500 client capacity starts in fune $16,485
6. Tota] Proposed Program Budget See phased budget $16,438

B. Revenues

1. Existing Revenues
a. MediCal (FEP Only)
b. Medicare / Patient Fees/ Patient Insurance
c. Realignment
d, State General Funds
e. County Funds
f. Grants
g. Other Revenue
h. Total Exdating Revenue

2 New Revenues
a. MediCat (FFP Only} Medicare/MediCal 33% of Non-Startup Cost $250
b. Medicare/ Patient Fees/Patient Insurance Medicare/MedICal 33% of Non-Startup Cost $33
¢. State General Funds
d. Olher Revenue
c, Total New Revenue

3. Total Revenue $33

C. One-Tlme CSS Funding Expenditures 40
D. Total Funding Requirements 516,155
E Percent of Total Funding Requirements for Full Service Partnerships

Paga 500

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~Montal Health Services Act Community Services and Supports Budget Workshest

County(ies): Santa Clara County

Program Workplan # OA-03

Program Workplan Name 80+ Mobis Asssasment & Quimach
Type of Funding 3. Outraach end Engagement

Proposed Total Cllant Capacity of Program/Sarvice:
Existing Glent Capacity of Program/Sarvica:
Gent Capachy of ProgranvService Expanded through MH&A:

188 ON

Fiacal Year.
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2006-07
127eV06

Page_1_of_1_
Monthe of Operation
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Prepared by: Martha Paine
Telephone Number: 408 885 6860

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Contract
—— Providers

Total

A ExpendHures
1, Client, Fenily Member end Caregiver Buppost Expsndilures
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b. Travail and Transporiation
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E. Subsidies
W. Youchars
fy. Other Housing
d. Employment and Education Supports
9. Othor Supper Expenditures {provide doacription In budget nerraliva)

f Total Support Expenditures

2. Pereonna Expencitures
8. Currant Extating Personnel Expenditures {from Staffing Datallp
b. Now Additional Personnel Exponditures (fram Staffing Detail)
¢. Empioyea Bonofits
d, Tolal Pezonnel Expandiires

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3 Operallng Expenditures
4. Profesional Servicos
b, Transistien and Inlerprates Services
¢ Travel and Transportation
6. Ganeal Offow Expenditures
a. Rent Utiities and Equipmeat
f. Meditation end Medical Supports
@- Other Operating Exp (provide descripth

h. Total Operating Expenditures

In budget naralve)

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4, Program Manpgement
a. Existing Program Managenvent
b. New Program Management
& Talal m hone 4

5, Estroaied Tote! Expenditures when service provider Is nol known

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8. Total Proposed Program Biniget

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B. Revenues
1, Existing Revenues
4. Medi-Cal (FFP only]
b. ModicarwPationt Feoa/Paten! Insurance
¢, Reaignirent
d. Stata Genera) Funds
8. Counly Funda
€ Granky
ff. Other Revenue
h. Tolal Exating Rovonuoa
2 New Ravenues
6. Med-Cat (FFP cooly}
b. MedkaryPaten! Feas/Patent Insurance
& Slate General Funds
d. Othor Revenue
8. Tota? New Purvenue
a, Tota) Ravenues

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C, One-Time C35 Funding Expenditures

D. Total Funding Requirements

[&. Percent of Total Funding Requirements for Full Service Partnerships

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EXHIBIT 6 b—Mantal Health Services Act Community Services and Supporta Staffing Datall Worksheet

County{ies): Santa Clara County Flocal Year: 2008-07
Program Workplan & OA-0G Date: 127206
Program Workplan Name 50+ Moblie Assasemant & Outreach Page _t_of_1_ 1
Type of Furdiog 3. Outreach and Engagement Months of Operation 12
Proposed Total Cllant Capecty of ProgrnvService; 188 New ProgramService of Expansion New
Extating Cllant Capacity of Program/Sanvice: o Prepared by: Martha Palng
Cllent Capactty of Progran/Servica Expanded through MHSA: 188 Talaphona Number 408 885 6680
Client, FM & col Total Humber | Salary, Weges and Total Salaries.
Classiiication ction '
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B. New Additional Postifona
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0.25 FTE Reg Nurse Macical Support 0,09 H
2.00 FTE Cinledan Therapy 0.75 3
2.00 FTE Famity PulCeasa Mgr |Family SupportiCase Management 0.75] 50
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Total New Additional Positions O75 Om 50
C, Tota Program Pouiions O75

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WY Inctide any bHingual pay supplements (i appica bia}. Round seach amount to the neareal whole dollar,

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YBAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA-(3 Mobile Assessment & Outreach
Punding Source: Outreach & Engagement
(37.5% of Total Cost}
CountySanta Clara Fiseal Year, = 2006-07
Date: 12/23/05
A. Expenditures
1, Client, Family Member and Caregiver Support Expenditures
a, Clothing, Food and Hygiene
b. Travel and Transportation
c. Housing
d. Employment and Educalion Supports
e, Other Support Expenditures
2 Personnel Expenditures
a. Current Existing Pasitions
b, New Additional Positions
¢ Employee Benefits
d. Total Personnel Expenditures
3. Operadng Expenditures
a. Professional Services
b, Trans]-ation/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e, Rent, Utilities and Equipment
f. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a Existing Program Management
b, New Program Management
c. Total Program Management
5. Estimated Total Expenditures When Provider is Not Known 5 of 500 client capacity starts in June $114,583
6. Total Proposed Program Budget See phased budget $114,583

B. Revenues

1. Existing Revenues
a, MediCal (FFP Only)
b. Medicare/Patient Fees/ Patient Insurance
c. Realignment
d. State General Funds
e. County Funds
f, Grants
g. Other Revenue
h. Total Existing Revenue

2 New Revenues
a. MediCal (FFP Only) Medicare/ MediCal 33% of Non-Startup Cost $28,646
b. Medicare/ Patient Fees / Patient Insurance Medicare/ MediCal 33% of Non-Startup Cost $9549
c. State Genera] Funds
d. Other Revenue
e. Total New Revenue

3. Total Revenue $38,195

C. One-Time CSS Funding Expenditures $0
D. Total Funding Requirements $76,308
B. Percent of Total Funding Requirements for Full Service Partnerships

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EXHIBIT Sa~Montal Health Services Act Community Services and Supports Budget Worksheet
County(lea}: Santa Clara County
Program Workplan #
Program Workplan Name (+ Mobile Assessment & Outreach
Type of Funding 3. Outreach and Enganement_

Proponed Total Cilant Capacity of Program/Service: 188

Exteting Cllant Capacity of ProgramyService: a

Client Capacity of ProgranyServica Expanded through MHSA: 188

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04-03 Date:

2007-08
12/2305
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Monthe of Operation
New ProgramyServica or Expanalon
Prepared by:

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Martha Paina
Telaphone Number, 408 885 aaa0

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' Health Governments!
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Total

A Expanditures
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©, Travel and Transporiaton
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hy. Other Hovslng
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ription In buxtget namntvo)

2. Personnel Expenditures
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b. New Additonal Personnel Expandiuras (Irom Staffing Detol)
& Employes Benatits

f. Total Support Expenditurns 30 0 x

d. Total Pertoneol Expandttuces Hi 40 to

3. Gperating Expenditures
&. Professional Services
b. Trangation and Interpreter Services
© Travel and Transportation
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@. Rant, Utilities and Equipment
f, Medlertion and Medical Supports
9. Other Opanting Exponses (provide deseriotion In budget narrative}

4. Program Management
& Exating Program Manegemant
b. Now Program Management

ip not known 310,000

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5. Estimated Tota! Expenditures whan servics
6. Total Proposed Progrem Budget

h. Total Operating Exponditures 0 » x

c. Total Program Management 4 %

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8. Revenues
4. Exlating Ravonues
6. MMedhGal (FFP only)
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& Realignment
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I. Grants
9. Other Revenue
h. Tota! Existing Revenues so fo
2. Hew Revenes
4. MeiGal (FFP only)
b. Madlawe/Patien| Fees/Patent Insurance
c, State Generel Funcs
d. Other Revenue
®. Total New Rovenus
3. Tolal Revenues

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C. One-Time C88 Funding Expenditures

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EXHIBIT 6 b—Mantal Health Services Act Community Services and Supports Staffing Detall Worksheet

Coumty(ies): Santa Clara County Fecal Year 2007-08
Program Workplan if OA13 Dats: 1272405
j Program Workplan Name 80+ Mobile Assessment & Outraech Page_4_of_1_
‘y Type of Funding 3. Oubeach and Engagement Months of Operation 12
Proposed Total Client Capacity of ProgranvServics: 188 New Program/Semice or Expansion New
Existing Cllent Capacity of ProgranyService: 0 Prepared by: Martha Palna
Glent Capacity of ProgranvServics Expanded through MHSA: 188 Telyphone Number. 408 585 8880
Client, FM & CG) Total Number Balary, Wages and Total Salaries.
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Total Current Exleting Positions oa) 0.00 st
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0.25 FTE Reg Nurse Medical Support 0.00 $0
2.00 FTE Clinidan Therapy 0.75 0
2.00 FTE Family PtriCase Mgr |Family SupporliCass Management O75 fo
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: 2
Total New Additonal Positions 0.75 0.04 $0
C. Total Program Positions 0,75 0.04 wo
a Enter lhe number of FTE postions thal wil be staffed with clients, femiy members or careghvers.
Y Include any bilingual pay supplements (if spoicable). Round each amount to the neares| whoke dolar.
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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREH YEAR EXPENDITURE PLAN

Exhibit Sa - Budget Narrative
OA03 Moblle Assessment & Outreach
Funding Source: Outreach & Engagement
(97.5% of Total Cost)
County: Santa Clara Fiscal Year:
Date:
A. Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
c. Housing
d. Employment and Education Supports
e. Other Support Expenditures
2 Personnel Expenditures
a, Current Existing Positions
b, New Additional Poaltions
¢. Employee Benefits
d. Total Personne] Expenditures
3, Operating Expenditures
a. Professional Services
b. Translation/ Interpreter Services
¢ Travel and Transportation
d. General Office Expenditures
e, Rent, Utilides and Equipment
£. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a. Existing Program Management
b, New Program Management
¢. Total Program Management
5. Estimated Total Expenditures When Provider is Not Known Full capacity of 500 Clients
6. Total Proposed Program Budget See phased budget

B, Revenues

1, Existing Revenues
a. MediCal (FFP Only)
b. Medicare/ Patient Fees/ Patient Insurance
c. Realignment
d. State General Funds
e. County Funds
f. Granks
g- Other Revenue
h. Total Edsting Revenue

2 New Revenues
a. MediCal (FFP Only) Medicare/ MediCal 33% of Non-Startup Cost
b. Medicare/ Patient Pees/Patient Insurance Medicare/MediCal 33% of Non-Startup Cost
c. State General Funds
d. Other Revenue
e. Total New Revenue

3, Total Revenue

© One-Time CSS Funding Expenditures
D. Total Funding Requirements
E, Percent of Total Funding Requirements for Full Service Partnerships

2007-08
12/23/05

$150,000
$150,000

537,500

$100,000)

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1. Complete Exhibit 4 (as required under Section IV response), Using the format
found in Exhibit 4, please provide the following summary:

Please refer to Exhibit 4 above.

2. Please describe in detail the Proposed program for which you are requesting
MHSA funding and how that program advances the goals of the MHSA.

This program will develop and support consumer and family integration into the

recovery process. It will achieve the following transformation goals:

e Increased family involvement and self-help activities

* Increased client and family satisfaction with services

* Improved access and engagement in service by underserved ethnic minority and
LGBTQ adults

* Transformation of care fo person-centered wellness and recovery Increased peer
to peer support

= Increased peer to peer support

* Sustained motivation for recovery

* Culturally appropriate social support for achieving recovery goals and preventing
institutionalization

» Improved family and caregivers knowledge to support the client through recovery
and recognize early signs and symptoms of deterioration that wilt bring the client
into a higher level of care ina timely manner

A fundamental concept of wellness and recovery is the development of a broad
range of support services that are provided by peers. Services that are provided by
peers have been very well accepted and are becoming a comerstone of recovery.
For seniors, this is a concept that requires training for peer counseling from the
various cultures and ethnicities in the community. It also requires support for peer
counselors including locating them in places familiar to the clients, providing
transportation fo reach the client at home or in a hospital or other institution, and
professional backup.

Community, cultura and language specific services are critical to engaging the older
adult. The team of clinicians must recognize the culture of aging first, then
Superimpose the client's ethnic or racial cultural beliefs and behaviors in order to be
effactive.

The theory of Connectedness teaches about the need to enhance the knowledge of
family members In their understanding of mental illness and how it affects loved
Ones. This knowledge can assist in the recovery of the individual as well as provide
the family member with signs and symptoms that may assist in the early intervention
with the client and stabilization prior to the need for higher levels of care and
hospitalization. Further, family member members can contribute to assisting in the
development of an individualized recovery plan for the client. The following items
enhance these services:

Santa Ciera County Manial Health Services Act
Community Services and Supports Three Year Expenditure Plan
December 30, 2005

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=" Dedicated staff to act as llaison between consumers and family members,
provide education on resource and care options, and facilitate support groups for
familles. .

" Development of a Senior Family Advisory Committee that would give input into
county plans and policies regarding older adutt care.

= Sufflclent training for providers to help them engage and work with families.

3. Describe any housing or employment services to be Provided.

Through outreach and engagement by peers, family and caregivers, it is anticipated -
that housing issues will be identified before they become crises. Additionally, the
transition from a hospital or nursing home will be facilitated, and witl result in housing
in the least restrictive setting available for the required level of care. Family and

peer counselors will be

Empioyment for this poputation will involve providing a range of volunteer
Opportunities within the community, as well as re-employment for those who wish to
retum to a full- or part-time job. Consumers, family members and others will serve
as liaisons between mental health and the community to provide community, family
and caregiver education and improve access to volunteer and employment
opportunities.

4. Please provide the average cost for each Full Service Partnership participant
inciuding all fund types and fund sources for each Full Service Partnership
Proposed program.

N/A

5. Describe how the proposed program will advance the goals of recovery for
adults and older adults or resillency for children and youth. Explain how you
willl ensure the values of recovery and resiliency are promoted and continually
reinforced,

This program embraces the concept of person centered recovery services.
Fundamental to this concept is working with the strength and resilience that each
individual has acquired within his or her life experiences and capitalizes on the
innate strength of the individual, Secondly, this model embraces the concept of
community recovery, which emphasizes the need for the individual to connect with
community, and social relationships that are not attached with the treatment facility.
It also recognizes that the individual along her or his path to recovery and wellness
will confront challenges and stresses that will impede the path of recovery and that
services must be immediately available at this point to ensure continued
achievement of the persons’ recovery and wellness goais that they have established
for them self. This mode! normalizes the process of recovery and reduces stigma.

Santa Clara County Mental Health Services Act
Community Services and Supports Three Year Expenditure Plan
December 30, 2005

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Specific models of recovery that may be expanded or introduced Include 42-step,
Health Realization, the Wellness and Recovery Actlon Program, Eastern practices
including meditation, Tai Chi, Yoga, and other holistic models of personal recovery.

This program advances the goal of recovery by assisting clients to get the help they
need in a timely manner and fo help them IInk with a full continuum of services to
address their mental illness and other support needs. It reduces the special barriers
to access of the older adult with limited mobility and poor access to transportation.
This outreach component of the program will normalize the process of recovery and
reduce stigma, thereby reducing these perceived barriers to accessing care.

6. If expanding an existing program or strategy, please dascribe your existing
program and how that will change under this proposal.

This is a new program that will be introduced through the Self Help Centers.
Programs will be modified and augmented to meet the unique needs of older adults,
their family members and caregivers. The Centers individual peer counseling,
Support groups, 12-step meetings and social events will be tailored to the older adult
and promoted in the senior communities including senior's residences, day activity
centers and the faith community. Special attention will be given to bringing more
Latino and Asian families and peers into the programs to increase participation
within these populations.

7. Describe which services and supports clients and/or family members will
provide. Indicate whether clients and/or familles will actually run the service or
if they are participating as a part of a service program, team or other entity.

A primary goal of MHSA is to elevate the importance of consumer and family driven
services and partnerships in the wellness and recovery of every client. During the
planning process, consumers and family members identified the importance of
improving the partnership between family and treatment partners to achieve
treatment success. There was universal support to expand and strengthen Self-
Help, and Wellness and Recovery Programs. Community input indicated that such
partnerships could decrease social, cultural and linguistic isolation, the lack of
meaningful activities or social skills, the inability to manage independence, the lack
of social supports, substance abuse, grief and loss, and trouble with the law and a
general disassociation from the community at large. Ethnic communities specifically
indicated concerns about stigma, accessing the system of care, knowledge about
rights and seif-advocacy, the cultural gap in service delivery, low self-esteem, the
jack of support groups, a loss of cultural traditions, financlal, and employment issues
that will be addressed through the effective use of family and peers

Enhanced Peer Support and Family and Network Education strategies come directly
from the input of our older adults as both resolutions to existing barriers, and ways
of taking advantage of the strengths within the Older Adult community. Consumer-
driven services will mean that rather than requiring seniors to come to clinics and

Santa Clara County Mental Health Servicas Act
Community Services and Supports Three Year Expenditure Plan
Decambar 30, 2005

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Self Help Centers, staff, family and peers will be reaching out to them In thelr own
community settings as we work more closely with existing community centers,
spiritual centers, and housing. These groups also identified certain strengths within
our Older Adult population, which Include: independence and strong coping skills,
self-acceptance, perspective, strong family bonds, cultural identity, and activities
available at existing senior centers.

Peer counselors and family members will be hired and specially trained to work with
older adults. The staffing for these positions is integrated into the adult peer and
family programs at this time, in order to maximize the training resources and
facilitate integration into care teams.

8. Describe In detail collaboration strategies with other stakeholders that have
been developed or will be implemented for this program and priority
population, including those with tribal organizations. Explain how they will
help Improve system services and outcomes for Individuals.

The CSS planning process involved significant collaboration focusing on the special
needs of seniors. Meetings were held with senior stakeholders including caregivers,
senior advocacy groups and service providers to assure the voice of the older adult
was heard. This laid the foundation for ongoing relationships that will continue
through program implementation. Together with the Ethnic and Cultural Advisory
Committee, the Mental Health Department will solidify relationships with Social
Services Agencies and primary care physicians to facilitate a comprehensive system
of care for our older adults. Through incorporation of culturally and age-sensitive
practice and the engagement of family members, peers, and other supports we
believe we wil! be able to create a system that is more attractive to our older adults.

$. Discuss how the chosen program/strategies will be culturally competent and
meet the needs of culturally and linguistically diverse communities. Describe
how your program and strategies address the ethnic disparitles {dentified tn
Part II Section II of this plan and what specific stratagies will be used to meet
their needs.

The Department will work closely with the Ethnic Services Committee of the Mental
Health Board in reviewing the success at eliminating the disparities in treatment.
The Self-Help and Family Advisory committees will be formed and meet regulary
with this committee to review goals and accomplishment and make
recommendations for improvement in the linkage of older adult services with other
departmental operations. Although current demographics indicate that the White
population is the most underserved, this will not impede efforts to enhance the
access and engagement process to reduce other disparities, especially in the Latino
and Asian communities.

Santa Clara County Mantal Health Sarices Act
Communtly Services and Supporls Three Year Expanditure Pian
December 30, 2005

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10.

11.

12.

13.

Describe how services will be provided In a manner that Is sensitive to sexual
orientation, gender-sensitive and reflect the differing psychologies and needs
of women and men, boys and girls.

The department will work with the existing gender-based organizations (such as the
YWCA), and GLBTQ organizations (such as the Billy DeFrank Center), to develop
internal programs as well as link with existing community programs to meet the
needs of these consumers. The amount of stigma associated with issues such as
HIV/AIDS, “coming out”, domestic violence, etc., requires the department to work
creatively with various organizatlons, (including faith-based) to provide a safe
environment for support, therapy, and education for our consumers, family members
and friends. Linkages with churches that offer programming and counseling for our
GLBTQ youth, including creative dramatic events that deal with depression,
HIV/AIDS and other issues will be a key strategy. Community centers, churches and
other organizations that hold regular groups for men or women, such as interracial
groups for Gay Black Men and Asians, will be outreached to and ask to join in
dialogue and planning with the department on an ongoing basis to raise the issues
and find solutions to engaging these communities in the further development of
services. Gender and LGBTQ sensitivity will be achieved through organizational
change from within and partnership with established organizations.

Describe how services will be used to meet the service needs for individuals
residing out-of-county.

N/A

If your county has selected one or more strategies to implement with MHSA
funds that are not listed In Section IV, please describe those strategies in
detail including how they are transformational and how they will promote the
goals of the MHSA.

N/A

Please provide a timeline for this work plan, including all critical
implementation dates.

County Positions

December -January White job descriptions for new positions

February - March Human Resources approval, Board approval

April --May Recruitment and hiring of new positions

REP

December-January Develop Request for Proposal service elements
February Publish Request for Proposals, Bidder’s Conference
March 30, 2006 Proposals Due

April 1-15, 2006 Panel Reviews

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Communlty Sarices and Supports Threa Year Expenditure Plan
December 30, 2005

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14.

15.

April 30, 2006 Notice of awards of RFP
May 1-15, 2006 Contract development
May 16, 2006 Prepare Board Transmittal
June 1, 2006 Contracts services begin

Develop Budget Requests: Exhibit 5 provides formats and instructions for
developing the Budget and Staffing Detail Worksheets and Budget Narrative
associated with each program work plan. Budgets and Staffing Detail
Worksheats and Budget Narratives are required for each program work plan
for which funds are belng requested.

a. Work plans and most budget/staffing worksheets are required at the program
level. Consistent with the balance of the work plans, some services may not
be part of a comprehensive program and should be budgeted as a stand-
alone program and work plan. An example of this is Mobile Crisis. {tis a
countywide service available to a broad service population and may not
necessarily be part of another program for a priority population.

b, Information regarding strategies is requested throughout the Program and
Expenditure Plan Requirements. Strategies are approaches to provide a
program/service. Multiple strategies may be used as an approach for a single
service. No budget detail is required at the strategy level. Examples of
Strategies include self-directed care plans, integrated assessments for co-
occurring disorders, on-site services in child welfare shelters, and self-help
support.

A Quarterly Progress Report (Exhibit 6) is required to provide estimated
population to be served. This form will ba required to be updated quarterly
specifying actual population served. Additionally, a Cash Balance Quarterly
Report (Exhibit 7) is required to provide information about the cash flow
activity and remaining cash on hand. All progress reports are to be submitted
to the DMH County Operations analyst assigned to the County within 30 days
after the close of the quarter.

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Community Seevices and Supports Three Year Expenditure Plan
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EXHIBIT Sa—-Montal Health Services Act Communky Services and Supporte Budget Workshect

Countyfles): Senta Clara County Fiscal Year: 2005-08
£4 Program Workplan # OA-D4 Date:____ 12/23/05
Program Workplan Name 60+ Family & Caregiver Support . Page _ t_of _1_
Type of Funding 1. Full Sarvies Parinerahip Months of Operation 1
Proposed Total Cllant Capactty of Program/Sarvice: 8 _ Now Program/Sentes or Expansion New
Existing Clent Capacity of Program/Sarvica: 0 Prepared by: Martha Paine
Cllent Capacity of Program/Service Expandad through MHSA: 8 Telephone Number: 408 885 5350
Community

Guanty Mantal Other
Health Governmental ew Health Toul

Department Agencles Provid

& Expenditures
1. Cllert, Famity Member and Caregiver Support Expenditums
8. Golhing, Food and Hygiene
b. Trevel aed Transportation
c. Howdag
|. Master Leagan
J. Subsidies
BL Vouchers
Wy, Other Houslng
d, Employment and Educetisn Supporte
6. Other Support Expandituros {pravide description ln budget nartathe}
f, Tote! Supperl Expenditures Hw 0 $0
2% Personnd Expenditures
a. Curent Edsting Partonnel Expendituras (from Staffing Data)
b. New Additional Personnel Expanditurea (from Staffing Detail)
c. Employes Benefits :
d. Total Personnel Expenditures w fo $0
3, Operating Expenditurns
j 8. Professional Servicaa
b. Trangirtion and Intarpretar Sarviows
c. Trrvel and Transportation
d. General Offices Expendituraa
@. Rent, Utes and Equipment
1. Madhantion end Mocical Suppacts
g. Other Openting Expenses (provide description in budget narrative)
h. Total Opersting Expendturas i 30 Oo
4. Program Management
4. Existing Program Management
6. New Program Manag amant
©. Total Program Mangement 0 50
G&. Estimated Tote Expenditures whan marvice provider ba not known $8,087
€. Total Proposed Program Budget
B. Revanues
1. Existing Revenues
6, Medi-Cal (FFP onty)
b. Madkare/Padent Feos/Polen! Inevrence
c. Realignment
0. State Goneral Funds
9, County Funda
f GQnnt
Q. Other Revenue
h. Teka) Existing Revanuoa H H wo
2. New Revere
@. Medi-Cal (FFP onty)
b. Modicare/Patent Fees/Paten! Insununce
© Stete Geopral Funds
d. Ofhar Revonve
6. Total New Funveoue
3. Tota Revenues

C, One-Time C35 Funding Expenditures Bg,

E. Percent of Total Funding Requirements for Full Service Partnerships

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EXHIBIT § b-Mental Health Services Act Community Services and Supports Staffing Datall Workshest

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County{les}: Santa Clara County Fiscal Year: 2005-06
Program Workplan # OAL Oat: 12e05
Program Workplan Name 0+ Family & Caregiver Support Page _1_of_1__
Type of Funding 1. Full Service Partnership Months of Operaiion 1
Proposed Total Cient Capacity of Program/Servics: 8 New Program Service or Expansion New
Exnaling Ciant Capacity of ProgranService: Qo Prepared by: Marthe Paine
Clent Capacity of Program/Serdea Expanded through MHSA: 8 Telephone Number: 405 885 6380
Clesatiication Function Client, FM & CG] Tobi Number | Salary, Wages and Tota) Salaries.
FTEs of FTEs Overtime per FTE” | Wages and Overtime
& Current Existing Poeltions
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Total Current Extating Positions 0,00 i ty
8. Mew Additional Posltens
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2.00 FTE Case Manager 0.50 so
1.50 FTE FamilyiPeer Partner 0.38 0
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2
Total New Additional Posltions a3 0.58 $0]
C. Total Program Positions 0.98 ae $0}

@ Enter the munber of FTE positions that will do staffed with dients, family mombors or careghars.
BW Incude any bHingual pay supplements (if appicable}. Round eech amount to tire nearsal whole dollar.

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SHRVICES & SUPPORT THREE YBAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative -
OAM Family / Caregiver Support
Funding Source: Full Service Partnerships
(25% of Total Cost)
County: Santa Clara Fiscal Year: 2005-06
Date: 12/23/05
A. Expenditures
1, Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
c
d. Employment and Education Supports
e, Other Support Expenditures
2 Personnel Expenditures
a, Current Bxising Positions
b. New Additional Positions
c Employee Benefits
d_ Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b, Trans]-ation/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
£ Medication and Medical Supports
g. Other Operating Expenses '
h. Tota! Operating Expendinures
4, Program Management
a Exsting Program Management
b, New Program Management

c. Total Program Management .
5. Estimated Total Expenditures When Provider is Nol Known 2 of 25 capacity starts in June, see phased budgel 6,667

6. Total Proposed Program Budget $6,667

B, Revenues
1. Eodsting Revenues
a. MediCal (FFP Only}
b, Medicare/Patient Fees/Patient Insurance
c. Realignment
d. State General Funds
e. County Funds
f. Grants
g. Other Revenue
h Total Existing Revenue
2. New Revenues
4. MediCal (FFP Only}
b. Medicare/ Patient Fees/ Patient Insurance
c. State General Funds
d. Other Revenue
e. Total New Revenue
3. Total Revenue $0

C. One-Time CSS Funding Expenditures $2,083
D, Total Funding Requirements $8,750
E, Percent of Total Funding Requirements for Full Service Partnerships

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D. Total F uirgmente
E. Percent of Total Funding Requirements for Full Service Partnerships

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EXHIBIT Sa~Mental Health Services Act Communtty Services and Supporis Budget Worksheet

County{iea)}: Sania Clara County
Program Workplan # OAM
Program Workplan Name 60+ Family & Caregiver Support
Type of Funding 1, Full Sanice Partnepship
Proposed Tolat Clent Capacity of Program/Service:
Exdating Cilant Capacity of ProgramyService:
Cllenl Capacity of Program/Serice Expanded through MHSA:

6 New Program/Servica of Expanalon New

Flecal Year: 2008-07
Date: 127235
Pags_i_o@f_1_
Months of Operation ‘2

Prepared by: Martha Palne
Telephone Number: 405 885 6880

County Mental
Health
Department

Other
Govemmental
Agencies

Community
Menta! Health
Contract

Providers

Total

A. Expenditures
1. Client, Family Member and Caregiver Supporl Expenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
¢. Hovalng
L. Mawter Leagas
i Subsidies
a. Youchers
ty, Other Housing
d. Employment and Educoton Supports
@. Other Support Expenditures (provide description In budgat murative}
f. Tote] Suppert Expanditures

Bz

SE SBS 88

$0

2 Penonned Expenditures
&. Current Existing Parsoncel Expenditures {from Staffing Detaly
b. New Additional Parsonael Expandtures (from Steifng Deted}
c, Employes Gocrafits
d. Tolal Personnel Expand ures

sis 8 6

3. Operating Expenditures

8. Professional Services

b. Translation and Intorpraler Serdoss

ce Trevel end Transportation

d. General Offices Exponditures

&, Rant Utes end Equipment

(. Medication and Medical Supports

g. Other Operating Exp (provide ¢
| bh. Total Qpenating Expenditures

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In budget narrative)

@ Program Mansgemenl
a. Existing Program Mansgecnd
b. New Program Management
& Total Program Menagamon
___#._ Estimated Total Expenditures when eervica provider by not known

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8. Total Proposed Program Budget

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EB. Rovenues

1. Exlatng Revenues
@. MadbCal (FFP osty}
b. Modicara/PaGant FecuyPaben nurances
c Raaigament
d. State Ganeral Funda
ss. Gounty Funds
f. Grants
g. Olher Revenue
h. Tote! Gdsting Revenues

2. Aan Rewenues
B. MedHCal (FFP only}
6, Medican/Patient Feas/Patent insurance
&. Bisle Genel Funds
d. Othe Ravenue
6, Tota New Revanuo

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3. Total Re

C. One-Time C83 Funding Expenditures

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EXHIBIT 8 b—Mental Health Services Act Community Services and Supports Staffing Datall Worksheet

Countytleg): Sante Clara County Flecal Year 2006-07
, ) Program Workplan # OAD4 Date: 12/2206
Program Workplan Name 60+ Family & Caregiver Suppod Paga_4_of_i_ |
Type of Funding 1. Ful Senvioe Partnership Months of Operation 12
Proposed Tote! Ciant Capacity of Program/Servica: § New ProgranySarvics or Expansion Hew
Existing Cllent Capecity of ProgranvService: g Prepared by: Martha Paine
Cllant Capacity of Program/Senice Expanded through MHSA: a Telephone Number 408 685 6880
. Cllent, Fl & CG) Total Humber | Salary, Weges and Total Salastes,
Classification Function FTEs” ofFTEs | Overtime ner FTE” | Wages and Overtime
A. Current Exieting Positions

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Total Current Endating Poslifons 0.00, 0.00 50}

\ B. New Additional Posttions

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2.00 FTE Case Manager 0.50 sO
1,80 FTE Famly/Pear Partner : 0.33 x
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Total New Additional Positians O38 0.58 $0

G, Total Program Poattions 0.18 0.58 so

a! Enter the number of FTE positions that wil be staffed with cllecte, famBy mem bera or careghors,
Induces any BHingual pay suppiemonts (if applicable) Round each amount to ihe neared yhtolo dolor.

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA Family /Caregiver Support
Funding Source: Full Service Partnerships
(25% of Total Cost)
County: Santa Clara Fiscal Year. 2006-07
Date: 12/23/05
4, Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Travel] and Transportadion
«. Housing
d. Employment and Education Supports
e. Other Support Expenditures
2 Personnel Expenditures
a. Current Existing Positions
Bb, New Additional Positions
c, Employee Benefits
d, Total Personnel Expendihures
3. Operating Expenditures
a Professional Services
b. Trans|jation/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
fF Medication and Medical Supports
g. Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a. Edsting Program Management
b. New Program Management
c Total Program Management
5. Estimated Total Expendlbures When Provideris Not Known  20f25 capacity starts in June, see phased budget $51,042
6. Total Proposed Program Budget $51,042

B. Revenues
1. Existing Revenues
a. Med[Cal (FFP Only}
b. Medicare/ Patient Fees/ Patient Insurance
¢. Realigrunent
d. State General Funds
e. County Funds
f. Grants
g. Other Revenue
h. Total Existing Revenue
2 New Revenues
a, MediCal (FP Only}
b. Medicare/ Patient Foes/ Patient Insurance
c. State General Funds
d. Other Revenue
¢. Total New Revenue
4. Total Revenue

© One-Time CSS Funding Expenditures $36,979
D. Total Funding Requirements $88,021
B. Percent of Total Funding Requirements for Full Service Partnerships

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EXHIBIT 3a—Montel Health Services Act Community Services and Supports Budget Worksheat

County(fes): Senta Ciara County

Program Workplan @ OA-04

Program Workplan Name 60+ Family & Caregiver Support

Type of Funding {. Full Sarvice Paxnorahip

Proposed Total Client Capacity of Program/Service:
Exlsting Clrant Capecity of Program/Sarvice:
Cllenl Capacity of ProgramySaervica Expanded through MHSA:

Flecal Year. 2007-08
Date: 12/23/06
Pages _i_of_1_
Months of Operation t2

Naw ProgranySarvice or Expansion New

Prepared by. Martha Palna
Telephone Number: 408 685 8860

Community
Mantal Health
Contract
Providers.

Total

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0. Clothing, Food and Hygiene
b. Trevel and Transportation
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@ Other Support Expenditures (provide description in budget novreatve}
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b. Current Existing Personnel Expenditures (from Slating Dotail)
b. New Additional Pacsoonol Expenditures (fram Sisfling Data)
c. Ernployoo Bonetity
d, Tota! Personnal Expenditures

3, Operating Expenditures
4. Profesalonal Sendoess
b. Trandaten and Interpreter Sandon
c. Trevat and Trans portation
d_ General Gfiica Expenditures
6. Reni, tiles and Equipment
f, Meadicatan and bhedica Supports
g- Other Opornting Expanses (provide description In budgat narrattrs}
h, Total Opertting Expenditures

4. Progra Management
8. Existing Program Managenmant
b. New Program Managament
¢: Total Program Managemont

5, Extimeted Total Exponditurse when service provider Is nol known

352,600

6. Total Proposed Prog Budget

B. Revenuae
1. Eveting avenues
a. MadiCal (FFP onty)
b, Madicare/Paton! Fees/Patent Insurance
c Realignment
d. State General Funds
@. County Fonds
{, Grants
g. Other Revenue
h, Total Existing Ravonuss
2. Hane Reena
8. Medal (FFP onty}
b. MadiconyPatien! Foes/Patient Insurance
¢. Stele General Funds
d. Othe Awanue
6. Total New Revenue

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3. Total Ravenues
CG, One-Time C35 Funding Expenditures

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D. Tota] Funding Requirements

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E. Percent of Total Funding Requiremanta for Full Service Partnersh| Page 522
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EXHIBIT & b—Mental Haalth Services Act Community Bervices and Supports Staffing Datall Worksheat

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Countyflaa}: Santa Clara County Fisea! Year. 2007-05
Program Workplan # OA-DA Date: * 42he05
Program Workplan Name 60+ Formfly 4 Careghver Support Page_tiof_ 4
Type of Funding 1. Full Serica Partnership Montha of Operation 12
Proposad Total CHent Capacity of ProgranvServioe: 6 New Program Service or Expansion New .
Exeting Chenl Capactty of Progran/Service: a Prapared by. Martha Paina
Clani Capacity of Program/Seriea Expandad through MHSA: 8 Telephone Number: 408 885 GRdO
Client, FM & CG) Total Number | Salary, Wages and Total Salaries.
Classification Function FTEs” of FTEs Overtine per FTE™ | Wages and Overtime
A. Current Exleting Poultlans
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Total Current Exlating Positions 6.00, 0.00 30
B, Now Additonal Positions
0.25 FTE Psychiatrist 0.06 So
2.00 FTE Case Manager 0,50 HO
1.50 FTE FamllyiPear Partner 0.38 0
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Total Rew Additonal Poslttens 0.38 0.58 8
C. Total Program Posttions Og 0.54

@f Enter tho number of FTE positions that wil be alafed with clients. famly mambers or cereghars.
DF Induda any bHingual pay supplement: (0 appicabla). Round each amourd bo the noarce! whole dodar.

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SANTA CLARA VALLBY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Hxhibit 5a - Budget Narrative
OA Family / Caregiver Support
Funding Source: Full Service Partnerships
(25% of Total Cost}
County: Santa Clara Fiscal Year:
Date:
A. Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
¢. Housing
da. Employment and Education Supports
e, Olher Support Expenditures
2. Personnel Expenditures
a, Current Existing Pasitions
b, New Additonal Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b. Transl;ation/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
f. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Bxpenditures
4. Program Management
a. Existing Program Management
b. New Program Management
¢ Total Program Management
5, Estimated Total Expenditures When Provider is Not Known 2 of 25 capacity starts in June, see phased budget
6. Total Proposed Program Budget

B, Revenues
T, Existing Revenues
a MediCal (FFP Only)
0b. Medicare/ Patient Fees/ Patient Insurance
¢. Realignment
d. State General Funds
e. County Funds
f£. Grants
g- Other Revenue
h. Total Existing Revenue
2 New Revemues
a. MediCal (FFP Only}
b. Medicare/ Patient Fees/ Patient Insurance
c. State General Funds
d. Other Revenue
e. Total New Revenue
3. Total Revenue

C, One-Time CSS Funding Expenditures
D. Total Funding Requirements
B. Percent of Total Funding Requirements for Full Service Partnerships

2007-08
12/23/05

362,500
62,500

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—_—_—+b Total funding Requirements

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EXHIaIT 6a~Mental Health Services Act Community Services and Supports Budget Worksheot
Fiscal Year:

County(les}: Santa Clara County

Program Workplan # OA-4

Program Workplan Name 60+ Family & Caregiver Suppon

Type of Funding 2. Syatem Development

Proposed Total Cltent Capacity of Program/Service:
Exletng Clant Capacity of ProgramyService:
Clont Capacity of Program/Servica Expanded through MHSA:

o
&

Filed 10/30/08

Months of Operation
@ _ Now Program/Service or Expansion

Date:

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2005-08

IANO

Pagea_ 1 oof _1_

4

New

Propared by: Martha Paing_
Telephone Number: 408 BBS 8860

County Meztal
Health
Departrvent

Other
Govemmeantal
Agencies

Commeunity
hfentel Health

Contract -

Provider

Total

A. Expenditures
1. Cilent, Family Member and Carsglver Support Expenditures
a. Clothing, Food and Hygiene
6. Travel and Transportation
¢, Housing
L Maater Loasoa
E Subsidies
OF. Vouchers
hy, Other Housing
d. Employment and Eduestion Supports
8. Other Support Expondituras (provide deseript

ih budget narrative)

f. Total Support Expenditures
2. Personal Expenctitures

a. Curren Extting Pertonnd Expenditures (from Slaifing Catal}
b. New Agdilinnal Personoel Expendituies (from Staffing Detail)
ce. Employes Bonefits

dL Total Porson nol Expondituras

3. Opersting Expanditurse
B. Profesalonal Services
b. Transictan and Interprale Services
¢. Treval and Transportation
&. Goneral Offeo Expandilurcs
o. Rent, Utiides and Equipment
(. Medicgilon and Medical Supperta
g- Other Oporating Exponses (provide description In budget namative)
4. Total i ndituras

$0

ESes BESS SBSKR ESSE BB

4. Program Management
a. Exdeting Program Management
b. Hew Program Managoment

< Tot Prog Managament

3. Estimated Total Expendiiures when sérvice provider te not known

$10,000

610,000

5. Total Proposed Program Budgat
8. Rovenuss
1. Exlating Revenues
a. Medial (FFP onty)
b. ModkarePatient FoorP gilont Inguranc
¢. Regignment
d. State Gansral Funds
e, County Funds
C Granis
@. Other Revenue
h. Total Exdeting Rewnnues
2. Hew Revenues .
9. MedLCat {FFP oniy)
b. MedkarwPatien! Foos/Padant Insuiencea
Slate General Funds
d. Offer Revenue
6. Tote) New Revenus
3. Total Rarvenuee

23

es

ss

Besse

sees ee ef

CG. One-Time CSS Funding Expenditures

$3,125

ze
8

E. Percent of Total Furling Requirements for Full Service Partnerships

Page 625
Pena/ 00621
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EXHIBIT § b=Mantal Health Services Act Community Services and Supports Strfing Detall Worksheot

County{les}: Santa Clara County Fiscal Year: 2005-06
Program Workplan # OAM Date: 1223/05
Program Workplan Name 60+ Family & Caregiver Support Page_1t_ot_1_. i
Type of Funding 2. System Development Monthe of Operation 1
Proposed Total Clie Capacty of ProgranvSerdce: 9 Naw Program/Service or Expanaion New
Existing Client Gepacity of Program/Service: 0 Prepared by: Martha Paine
Cllant Capacity of Progren/Senics Expanded through MHSA: 8 Telephone Number. 408 895 6880
Client, FM & cal Total Number | Setary, Wages and Total Salerios.
lA '
Classification Function FTEs” ot FTEs Overtime par FTE™ | Wages and Overtime
A. Current Extsing Positions
ww
Hw
‘J
Ho
ww
a
HO
ww
so
x
0
4
w
Total Current Existing Postions 0.00 0.00 a
} B. New Additional Posittone
0.25 FTE Psychistriat 0.09 x
2.00 FTE Case Maneger O75 $a
1.50 FTe FamihPeer Partner 0.64 30,
Hw
0
Hh
#6
4
HO
0
%
50
fo
Hw
H
2
Tote] New Additional Poaltons 0.60 44 HO
C. Total Program Positions 0.56 0.84
a! Enter the number of FTE positians that wi be elalfed with clenta, famby members of caregiver.
Of Induce any bHingual pay supplements (if applicable}. Round each amounl to the Nearest wholo dollar.
fieet 1 One
Page 526

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THRES YEAR EXPENDITURE PLAN

Exhibit Sa - Budge

t Narrative

OA Famuly/ Caregiver Support
Funding Source: System Development
(87.5% of Total Cost)

County: Santa Clara

A. Expenditures
1, Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b. Travel and Transportation
¢. Housing
d, Employment and Education Supports
e. Olher Support Expenditures
2 Personnel Expenditures
a. Current Existing Positions
b. New Additional Positions
c Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
4. Professional Services
b. Transhation/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
f. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a. Existing Program Management
b, New Program Management
c. Total Program Management
5, Estimated Total Expenditures When Provider Js Not Known
6. Total Proposed Program Budget

B. Revenues

1. Existing Revenues
a. MediCal (FFP Only)
b. Medicare/ Patient Fees/ Patient Insurance
c Realignment
d. State General Funds
e. County Funds
f. Grants
g. Other Revenue
h. Total Bdsting Revenue

2. New Revenues
a. MediCal (FFP Only) .
b. Medicare/ Patient Fees/Pationt Insurance
c. State General Funds
d, Other Revenue
e. Total New Revenue

3. Total Revenue

C. One-Time CSS Funding Expenditures
D. Total Funding Requirements
E. Percent of Total Funding Requirements for Full Service Partnerships

Fiseal Year 9205-06
Date: 12/23/05

2 of 25 capacity starts in June, see phased budget $10,000
310,000

30

$3,125
$13,125

Pages 527
Pena/ 00623
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EXHIBIT Sa~Mental Health Services Act Community Services and Supports Budget Workeheet
County(les}: Santa Clara County Fiscal Year.

) Program Workplan # CAM Date:
Program Workplan Name 60+ Famly & Careghver Support
Type of Funding 2. System Davalopment Moniha of Operation 12
Propased Total Chant Capacity of ProgranvService: 9§__ New Progrem/Service or Expansion New
Existing Cent Capactty of ProgranvService; 0 Prepared hy: Martha Pairs

2006-07
1araS
Poge_1_of +

Client Capacity of Program/Servica Expanded through MHSA:

Telephone Number.

408 885 G860

Govemmenta

Community
Contract
Providers

Total

A. Expanditures
1. Glient, Family Member and Cereplyer Support Expenditures
4. Clothing. Food and Hyglena
b. Travet aed Transportation
 Bouning
I Maslar Leasoa
Bh, Subsidies
if, Vouchers
fy, Other Housing
d. Employment and Education Supports
6, Other Suppart Expenditures (provide ob
f. Total Support Expenditures
2. Personnel Expenditures
a. Current Existing Personnal Expenditures (fram Slaffing Detall)
b. Now Additional Parsonnel Exponditurea (from Staffing Detail)
c Employes Banafis
d. Total Parsonne! Expenditures
2 Opening Expendiutes
\ &. Profsssional Services
6. Tramateiion and Intemretar Satvicas
¢, Trove! and Transpertoton
d. Ganenl Office Expenditures
8, Rent, Uttites and Equipment
i. Mediation and Madical Supports
g. Other Operating Expenses (provide description In budget narativa)
h. Total Opersting Expenditures
@& Program Managenrent
6, Exdating Program Management
b. Mew Program Management
© Total m Man t
5. Estunated Total nditures when serkce
| ___ 8: Tote! Proposed Program Budget _
B. Revanues
1, Edsting Revenues
8. Mod-Cal (FFP only}
>. Modicare/Patian! FeanPatent Insurance
c Raaignment
6. State General Funds
e, Counly Funda
Grants
g. Other Revona
h. Total Extrting Revenues
2 Hae Revenues
6. MedlCal (FFP onty)
b. MedkaurwP sien! Fees/Patent inpurance
c Slate Ganerel Funda
d. Other Revenue
4. Total New Revers
3. Total Reverures

C. One-Time C33 Funding Expenditures

D. Total Funding Requirements

[E. Percent of Total Funding Requirements for Full Bervice Partnerships

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iption in budget

Sess ees

ees Bees

Bisee ews

$76
976,563

le nol knoe $73,503

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Rleseess ge os

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EXHI@IT § b—Mental Health Services Act Community Services and Supports Staffing Dotall Worksheet

County(les}: Santa Ctara County
Program Workpian a OA-D4
Program Workplan Name 60+ Family & Caregiver Support
Type of Funding 2. System Development :
Proposed Total Cllant Capacity of Program/Service:
Existing CVent Capacity of Progrem/Service:
Ctent Capacity of Program/Service Expanded through MHSA:

Fiscal Year. AR?
Date: 12F2a05
Page _{_of_1_
Moniha of Operation 42
New Program/Sarvice of Expansion New
Prepared by: Martha Paina

Telephons Number: 408 685 6880

Classification Function

Client, FM & CG

Total Numbor | Salary, Wagee and Total Salaries.
of FTEs Ovartime per Fre™ Wages and Ovestime

‘A. Current Exdsting Poalitors

sa

2
&
a

Total Current Existing Positions
) B. New Additional Positions

025 FTE Psychiatrist 0.09
2.00 FTE Casa Manager 0.75 $0
§.50 FTE Family/Peer Partner 0.50 30
4

»

- 0
so

0

w
:

H

4

Ww

HN

$9

2

Total New Additional Posittons 0.58 0.64 4

C, Totad Program Positions 0.56 0B to

af Enler tha numba of FTE posllions thot will be staffed with Gienls, family member or caregivers.
bf induda any bilingual pay supplement: (Hf appticable), Round each amount to lho nearest whole deter.

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SANTA CLARA VALLBY HEALTH & HOSPITAL SYSTEM y
MENTAL HBALTH DEPARTMENT ‘
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA-Cd Family /Caregiver Support
Funding Source: System Development
(37.5% of Total Cost}

County: Santa Clara

A. Expenditures
1, Client, Family Member and Caregiver Support Expenditures
a. Gothing, Food and Hygiene
b. Travel and Transportation
c. Housing
d. Employment and Education Supports
e, Other Support Expenditures
2, Personnel Expenditures
a Current Existing Positions
b. New Additonal Positions
¢. Employee Benefits
d. Total Personnel Expenditures
3, Operating Expenditures
a. Professional Services
b. Translation/ Interpreler Services
c. Travel and Transporation
d. General Office Expenditures
e. Rent, Udllties and Equipment
£ Medication and Medical Supports
§- Other Operating Expenses
h. Total Operating Bxpenditures
4. Program Management
a. Existing Program Management
b. New Program Management
c. Talal Program Management
5, Estimated Total Expenditures When Provider is Not Known

6. Total Proposed Program Budget

B. Revenues

1. Existing Revenues
a. MediCal (FFP Only)
b. Medicare/ Patient Fees / Patient Insurance
c. Realignment
d, State General Funds
2, County Funds
f. Grants
g. Other Revenue
h. Total Existing Revenue

2. New Revenues
a. MediCal (FFP Only}
b. Medicure/ Patient Fees/ Patient Insurance
¢. State General Funds
d. Other Revenue
e. Tolal New Revenue

3. Total Revenue

C. One-Time CSS Funding Expenditures
D. Total Funding Requirements

Fiscal Year =2006-07
Date: 12/23/05

2 of 25 capacity starts in June, see phased budget $76,563
$76,563

$132,032

E. Percent of Total Funding Requirements for Full Service Partnerships

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Filed 10/30/08

EXHIBIT 6a~Mental Heatth Services Act Community Services and Supports Budget Worksheet

County{las}: Santa Clara County

— ) Program Workplan # OAM
Program Workplan Name Git Family & ver &
Typa of Funding 2. Syatam Development
Proposed Totsl Cftent Capacity of Program/Service:
Exleting CRant Gapacty of ProgrumSernice: o
Client Capacity of ProgranvServiea Expanded through MHSA: 8

Fiacal Year.

2007-8

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Date: 12s

Page_i_of_1_

Months of Oparation
9 New Program/Servica or Expansions New

12

Prepared by: Martha Paine

Telephone Number _ 408 885 6860

Other
Govammental
Agencles

Community
Mental Heatth
Contract
Provitors

Tota?

A Expenditures
1. Cent, Family Asmbar and Caregiver Supporl Expenditures
& Clotting, Food and Hygiene
b, Travel and Transportation
& Housing
i Master Laasos
B. Subskdics
BL Vouchers
ly. Other Housing
¢, Employment and Education Supports
a. Othe Support Expandlures (provide description In budgel narrative)

F Total Support Expenditures . XO so

2. Pereonnd Expendiivres
4. Curren| Existing Personne Expenditures (inn Stalfing Detad}
b, New AddRonal Pareonnol Expenditures (from Stafing Detail)
c. Employes Bansfils
J. Tolal Personnel Expenditures 30 $0

3. Operating Ependitures
) a. Professional Services

\ b. Transa ton gad Inteqpratar Services

& Travel and Transportation

d. Geooral Office Expenditures

8, Ran, Uiitfas and Equipment

(. Medication and Maodical Supports

g. Other Operating Exp (provide description in budget nairative)
h. Talal Oparating Expenditures HO 4

Sess (BRB SS BRESBEBKS #3

Ses

4, Program Nanegemont
a. Existing Program Managomant
b. New Program Management

} Tole! Program Managermont a
5. Estimated Total Expenditures when service provider Is not known $93,750

6. Total Proposed Program Budget W93,750

B. Ravonues
1. Edeting Revenues
a. ModbCal (FFP onty}
b, Modkare/Palttont Foes/Patient Insurance
c. Reslignment
d. State General Funds
@, County Funds
f. Geonts
9. Glher Ravenua
h. Tetal Existing Revenues % Hh
2. Hewe Revie
a. Mad}Cal (FFP only]
b. MadicaraPattent Feea/Patlient Insurance:
c. Site Ganeral Funds
d. Other Revenuo
@. Total New Revenue
3. Tot Revenues

8%

#¢é

w
0
C. One-Time C39 Funding Expenditures $54,250

ble emeee Se sess

D. Total Fund iremente 18, 0
= Percent of Total Funding Requirements for Full Service Partnerships

#

$150,000

Pane 531
Pena/ 00627
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EXHIBIT 5 b=Mantal Health Services Act Communty Seevices and Supporis Staffing Detall Worksheet

County(ee}: Santa Clara County Fiscal Yaar. 2007-02
Program Workplan # OA-D4 Date 1223/08
Program Workplan Name 80+ Famly & Caregiver Support Page _ fof, t_
Type of Funding 2. System Development Months of Operation 12
Proposed Total Clent Capacity of ProgramSenice: a New ProgranvServdea or Expanalon New
Existing Client Capactty of ProgramiService: 0 Prepared by: Martha Palne
Client Capacity of Progran/Servica Expanded through MHSA: g Telephong Number 406 685 8680
Client, FM & CG] Tote] Number | Salary, Wages and Tote! Salartes.
Classification Function FTEs” of FTEs Overtime per FTE | Wages and Qvertime
A Current Existing Posltions
ho
xO
Hw
x
so
$0
fo
ww
0
sal
ww
$o
$0
s0|
4g
Total Current Existing Positions 0.00 0.00 0
B, New Additional Fesitions
0.25 FTE Paychisttist 0.08 $0
2.00 FTE Casa Manager : 0.75 $0
1.60 FTE Famlly/Paar Partner 0.58
sa
x
»
H
"
H
#0
w
0
fo
£0.
Totel Hew Additional Positions 0.58 “a
C. Total Program Posttions 0.58 0.84 40

af Enter the number of FTE positions thal wil be etalfed with cients, famity members or caregivers.
Wf Inciude any bLingual pay supp! le (@ appicabla). Round oach amount le the nearosd whole dodar.

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit Sa - Budget Narrative
OAH Family / Caregiver Support
Punding Source: Syatem Development
97.5% of Total Cost)
County: Santa Clara Fiscal ‘Year. 2007-08
Date: 12/23/05

A. Expenditures
1. Cent, Family Member and Caregiver Support Expenditures
a, Clotting, Food and Hygiene
b. Travel and Transportation
c. Housing
d. Employment and Education Supports
e. Other Support Expenditures
2. Personnel Expenditures
a, Current Existing Positions
b, New Additonal Positions
c. Employee Benefits
d. Total Personnel Expenditures
3, Operating Expenditures
a. Professfonal Services
b. Translation/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
f. Medication and Medical Supports
g Other Operating Expenses
h. Total Operating Bxpenditures
4, Program Management
a. Existing Program Management
b. New Program Management
c. Total Program Management
>. Eshmated Tolal Expenditures When Provider(s Not Known = Pull capacity of 25 slots $93,750

6. Total Propesed Program Budget 393,750

B. Revenues
1. Existing Revenues
a. Medial (FFP Only)
b, Medicare/ Patient Fees/ Patient Insurance
c. Realignment
d, State General Funds
e. County Funds
Ff. Grants
g. Other Revenue
h. Total Existing Revenue
2. New Revenues
a. MediCal (FFP Only)
b. Medicare/ Patient Fees/ Patient Insurance
c. State General Funds
d. Other Revenue
e, Total New Revenue
3, Total Revenue §o

C. One-Time CSS Funding Expenditures $56,250
D. Total Funding Requirements $150,000
E. Percent of Total Funding Requirements for Full Service Partnerships

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Pena/ n0630ase 2:90-cv-00520-KJM-SCR Document 3144-4 Filed 10/30/08 Page 109 of 127

EXHIBIT Sa—Mental Health Services Act Community Services and Supporta Budget Worksheet

County{hes): Sania Clara County

Program Workplan # OA-O4

Program Workplan Name 60+ Family & Caregiver Suppor
Type of Funding 3. Outreach and Engegement

Proposed Tolal Cilant Capacity of ProgramSarvice:
Existing Cllent Capacity of ProgranvService:
Client Capacity of Programy/Serice Expanded through MHSA:

Months of Operation

Fiscal Year:

Dale:

2005-06

12/24/05

Page_1_of_1_

Q New Program/Servica of Expansion

Prepared by:
Telaphone Number:

q
New

Martha Paina
408 586 8880

Other
Governmental
Agancion

Community
Mental Health
Contract

Providers,

Total

A. Expenditures
1. Cltent, Famity Member ard Caregiver Support Expenditures
a. Clothing. Food and Hyglees
b. Travel and Transportation
c. Housing
L Mester Logses
1, Subskdles
0 Vouchers
hy. Other Houeling
d. Empymen and Eduesten Supports
6. Other Support Exponditures {provide description Is budget narrative}

{, Tote! Support Expenditures

2. Pertonosl Expenditures
8. Current Existing Personnel Expenditures {irom Staffing Detsi}
b. New Additional Personnel Expenditures (from Stelling Detail)
c. Employed Baonatita
d, Total Parsonnal Exponditure

1. Cperating Expenditures
8. Professions! Serviogs.
5. Trangtetion and interpriter Services
c. Tove! end Transportation
d. General Office Expendituras
6. Rent, Witiities and Equipment
( Alediaten and Medical Supports
9. Other Operating Expenses (provide description in budge! narrative)

h. Tote! Opansting Expenditures

4, Program Manegement
8. Exieing Program Mansgement
b, New Progaun Management
c. Total im Ma Ik

6. Estimated Total Expenditures when service provider la not kowwn

6, Total Proposed Program Budpet

ae
BBises ves sees ewes SMBEweES FE

B. Revenuss
1. Ede ing Revenues
a. ModiCol (FFP only)
b. Madicacs/Patent Feea/Patent [neurance
Realignment
4. Stole General Funda
6. County Funda
fF. Grants
@. Other Rovonue
h, Total Exiting Ravanues
2. Hew Revenues
a. Medi-Cal (FFP only}
b. Modicara’Pationt Fees/Patent Insurance
& State General Funda
d. Other Revenue
6. Total Now Plervenue
3. Totel Revenues

js

ss
os

Cc. One-Time CSS Founding Expenditures

_33,t25

D, Total Funding Requirements
le. Percent of Total Funding Requirements for Full Service Parinentipe

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EXHIBIT 6 b-Mental Health Sarvices Act Community Services and Supports Staffing Detall Workshoet

County(hon): Santa Clams County Flacal Year: 2005-08
) Program Workplan # OA-D4 Dato: __12/2406
' Program Warkpian Name 80+ Family & Caregiver Supporl Page _1_of__1__
Type of Funding 3. Outreach and Engagement Monthe of Operation i
" Proposed Tolal Cent Capacity of Program/Servica: 8 New ProgramyServica or Expansion New
Exlsting Cllant Capacity of Program/Service: 0 Prepared by: Martha Pali
Cloni Capacity of Program/Service Expanded through MH&A: 8 Telephone Number 408 885 2880

Clacalfleation Fu Client, FM & CG] Tota) Number | Salary, Weges and Total Salaries,

FTEs of FTEs Overtime per FTE” | Wages and Overtime

A Current Existing Poaltions

Total Current Existing Posltions 0.00 0.00
\ 8. New Additional Posldons
’ 10.25 FTE Psychlatist 0.09
2,00 FTE Case Manager O75
1,50 FTE Famiy/Peer Pariner 0.56

Total New Additional Poalttions 0.56
C. Total Program Positone 0.68 0.84

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SSE SSSesssseseseg seg SESESEBEE HEE E RES

Bw Enier the number of FTE positions that will be staffed with cRonts, family membora or carcghers,
BY Indie eny b+ Ingual pay supphoments (iY apoicable, Round each amount ip the nasrost whole dollar.

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Pena/ 00631
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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THRE YEAR EXPENDITURE PLAN

Bxhibit 5a - Budget Narrative
OAH Famlly/ Caregiver Support
Funding Source: Outreach & Engagement
(37.5% of Total Cost)

County: Santa Clara

A. Expenditures

1. Client, Family Member and Caregiver Support Expenditures
a. Clothing, Food and Hygiene
b, Travel and Transportation
c. Housing
d. Employment and Education Supports
e. Other Support Expenditures
2, Personne] Rxpenditures
a. Current Existing Positions
b. New Additional Positions
c. Employee Benefits
d. Tolal Personnel Bxpenditures
3. Operating Expenditures
a. Professtonal Services
b. Transl,ation/ Interpreter Services
c, Trave] and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equipment
£. Medication and Medical Supports
g- Other Operating Expenses
h. Tolal Operating Expenditures
4. Program Management
a. Eaisting Program Management
b. New Program Management
¢ Total Program Management
5. Estimated Total Expenditures When Provider is Not Known

6. Total Proposed Program Budget

B. Reventres

1, Easting Revenues
a MediCal (FFP Only)
b. Medicare / Patient Fees/ Patient Insurance
c Realignment
d. State General Funds
e. County Funds
f, Grants
g. Other Revenue
h. Total Existing Revenue
2 New Revenues
a, MediCal (FFP Only}
b. Medicare/ Patient Fees/Patient Insurance
c. State General Funds
a, Cther Revere
e. Total New Revenue
3. Total Revenue

Fiscal Year: 2005-06
Date: 12/23/05

2 of 25 capacity starts in June, see phased budget $10,000
$10,000

$0

$3,125

C. One-Time CSS Funding ExpendItures

D. Total Funding Requirements

E Percent of Total Funding Requirements for Full Service Partnerships

$13,125

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EXHIBIT Sa—Mental Health Services Act Communlty Services and Supports Budgat Worksheet

County{iea): Santa Clara County Flacal Yaar: 200-07
j Program Workplan # OA-04 Dats: 122305
; Program Workplan Neme 80+ Family & Camegiver Suppor . . Pege_1_of_4__
} Type of Funding 3. Outrssch and Engagement Months of Oparalion 12
Proposed Total Cllanl Capacity of Program/Sarvice: 8 Naw Progran/Servica of Expansion New
Existing Cllent Capacity of Program/Service: oO Prepered by: Martha Palne
Clent Capacity of ProgranvServies Expanded through MHSA: a Tefaphone Number: _ 408 885 8860
Community

County Mental Gther Mantal
Health Oovermental : Heath

Department Agerclan p

Total

& Expenditures
1, Clhont, Family dbembar and Caregiver Support Expenditures
6. Clothing, Food and Hyglena
b. Travel and Transportadion
c. Housing
L Master Leasos
G. Subsidias
BL Vouchers
v. Other Housing
d. Employment and Education Suppor
©. Other Support Expenditures (provide description In budget narrate}
f. Total Buppest Expanditures 0 # Ho
2 Personnel Expenditures
a, Curent Existing Personnel Expenditures (from Staffing Detail)
b. New Additional Personnel Exponciiurns (frem Staffing Ootall}
& Employoe Benefits
d. Total Personae! Expenditures $a 3 so
3. Oper Ung Expenditures
} a. Professional Sorvices
b. Trenstaton and Interpreter Sandoes
G. Travel and Trensperladan
d. General Office Expandiiuras
b. Rent, Uiittes end Equipmort
i. Mediation and Medical Supports
g- Other Oparating Exg (provide description in budget narrativa}
h. Tota! Operating Expenditures 50 4a H
4. Progiam Management
8. Exdetng Program Management
>. New Program Menegement
¢. Total Mana nt 30 3
5, Estimated Tots! Expendituces when service provider by nol known 576,603
6, Total Proposed Program Gudget 570,663 50 : 578,563 |
B. Rovenues
1. Exteting Revenues
a. Medl-Cal (FFP ony)
b. Mecieare/Patient Fees/Pationt Insurance
c. Resligument
d. State General Funda
4, County Funds
t. Gren
g. Other Revenue
h. Tetal Gdsting Revenues . x H i
2. Haw Revenues
. 8. Medi-Cal (FFP only}
b. Mediare/Pation! Fees/Pa tend insurnog
G. State General Funds
d, Glhe Revenue
4. Total Hew Revenue
3. Tol Revenues
C. One-Time C&S Funding Expenditures
D. Total Funding Requirements 1 6

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E. Percent of Tot! Funding Requirements for Pull Service Partnerships

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EXHIBIT 5 b—Mental Health Services Act Community Sarvices and Supports Staffing Detall Workaheat

Countyiies}: Santa Clare County Fiscel Year - 2006-07
Pregram Workplan # OA-D4 Date: f2zv/05
Program Workplan Name 80+ Family & Caregiver Support Page 1_of__1_
Type of Funding 3. Outreach and Engagement Months of Operation 12
Proposed Total Clent Capsotty of Program/‘Servica: 8 New Program Service or Expansion New
Exlating Cllenl Capacity of ProgranvService: 0 Prepared by: Martha Paine
Ghent Capactty of ProgranvSanica Expanded through MHSA: $ Telephone Number: 408 855 8960
Clant, FM & CG! Total Humber | Galery, Wages and Tole! Salartes.
Clasalfication Function FTEs" of FTEs Overtima her Fre | Wages and Overtime
A. Current Exiating Posltons
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Total Current Existing Positions 0,00 0.06 $0)
8. Hew Additionel Positions
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2,00 FTE Case Managor O76 0
1.50 FYE Family!Peer Partner 0.56 J
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22
Total New Addldonal Positions 0.66 a HH
iC, Total Program Poattions 0.58 0.88 $a

# Enter tho mimtor of FTE posltona that wit be staffed with cients, famty member or carsgtvere.
bf Indude any otingual pay supplements (H appOcable}. FRlound each amount lo the ngmresl whole dolar,

fore td AE

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SANTA CLARA VALLBY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Exhibit 5a - Budget Narrative
OA-O4 Family /Caregiver Support
Funding Source: Outreach & Engagement
(37.5% of Total Cost)
County: Santa Clara Fiscal Year. = 2006-07
Date: 12/23/05
A. Expenditures
1. Client, Family Member and Caregiver Support Expenditures
a, Clothing, Food and Hygiene
b. Travel and TransportaHon
c. Housing
d. Employment and Education Supports
e. Other Supporl Expenditures
2 Personne! Expenditures
a. Current Existing Positions
b. New Additional Positions
c. Employee Benefits
d. Total Personnel Expenditures
3. Operating Expenditures
a. Professional Services
b, Transladon/ Interpreter Services
c. Travel and Transportation
d. General Office Expenditures
e. Rent, Utilities and Equlpment
f. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Pxpenditures
4. Program Management
a. Existing Program Management
b, New Program Management

c. Total Program Management
5. Estimated Total Expenditures When Provider is Not Known 2 of 25 capacity starts in June, see phased budget $76,562

6. Total Proposed Program Budget $76,562

B. Revenues

1. Existing Revenues
a. MediCal (FFP Only}
b. Medicare/ Patient Fees/ Patient Insurance
¢ Realignment!
d. State General Funds
e. County Funds
f. Grants
g. Other Revenue
h. Total Existing Revenue

2 New Revenues
a. MediCal (FFP Only)
b. Medicare/ Patent Pees/ Patient Insurance
c. Stale General Funds

d. Other Revenue
e, Total New Revenue
3. Total Revenue 0
C. One-Time CSS Funding Expenditures $55,469
D. Total Funding Requirements $132.031

E. Percent of Total Funding Requirements for Full Service Partnerships

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EXHIBIT 6a~Mental Health Services Act Communlty Services and Supporis Budgot Worksheet

County(les}: Santa Clare County
Program Workplan a OAM
Program Workplan Nama 60+ Family & Caregiver Suppont
Typs of Funding 3. Outreach and Engagement
Proposed Tolel Cllant Capacity of Program/Serdce:
Existing CBent Capacity of Program/Senvice:
Client Capacity of ProgranvService Expanded through MHSA:

Fiacal Year:
Date:

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Montha of Operation

B_ New ProgranvSanica or Expansion

Prapared by:
Telaphone Number:

2

Neat
Marina Pane
409 885 6880

Department

Community
Contract
Provider

Total

A. Expenditures
1. Cllent, Family Member and Caregiver Support Expenditures
8. Clothing, Food and Hygiene
b. Trrvel and Transportation
¢. Housing
L Mastor Leases
1 Subsidles
EB Vouchorg
hv. Cther Housing
d. Employment and Education Supports
9. Other Support Expanditurea (pravige descriction In budgel narrative)
f, Teta) Support Expendituros

2 Personnel Expenditures
@ Current Existing Personnel Expenditures (from Staffing Datsll}
b. New Additional Personnel! Expenditures (from Stetling Dataly
c. Employos Benatts .
¢. Total Personnel Eapanditures

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3. Operating Expenditures
6. Professional Services
b. Trandatien and Inlerpreler Services
¢. Trvd and Transportation
d. General Offica Expenditures
o. Rent, UBies and fquismant
f, Mediation end Modical Supports
8. Other Operating Expenses (provide description In budget narrative}

h. Total Oparnting Expenditures

See s85 8

4. Program Mansgement
8. Existing Program Menaganrent
Db. Maw Program Management
C. Total Program Management

6. Extimated Total Expenditures when eervice provider [a rot known

$03,750

6, Total Proposed Program Budget

393,750

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B. Revenues
1. Existing Revenues
@. Medi-Cal (FEF onty)
b. Medicans/Patien Fees/Potlent Insurince
c. Readignmant
6. Ste Generel Funds
®. County Funds
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D- Other Revenuo
h. Total Existing Rovenves
2 New Reverse
6. MedtCal [FFP ony)
b. Mediare Patent Faes/Patienl Insumanca
G. State Genaral Funds
d. Other Revenus
¢. Told New Revenue

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3. Tota! Reverse
C. One-Time C88 Funding Expenditures

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E. Percent of Total Funding Requirements for Full Service Partnerships

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EXHIBIT § b—Mental Health Services Act Community Services and Supports Staffing Datall Worksheat

County(lea): Sante Clara County Fiscal Year: 2007-06
Program Workplan # OAT Date: THATS
Program Workplan Name 80+ Family & Caregiver Support . Pogea_iiof_ 4
Type of Funding 3. Outreach and Engagement Months of Operation 12
Proposad Total Cllent Capacity of Progran/Sarvice: 9 New ProgranvSerndies or Expansion Now
Existing Cllsnt Capacity of Propram/Sarvica: 6 Prepared by: Mestha Palne
Cient Capacity of Program/Gervice Expanded through MHSA: 9 Telephone Number: 400 845 6860
Client, FM & CG! Total Number | Salury, Wages and Total Bataries.
Classification Function FTEs” of FTEs Overtime per FTE” | Wages and Gvertime
A. Current Existing Porlilona
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Total Current Existing Positions 0.00 0.00 $9
B. New Additional Positions
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2.00 FTE Casa Manager 0.75: |
1.50 FTE FamlhyPear Parner 0.56 sa
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Total Mew Additional Posttions 0.56 0.84 $o
G, Total Program Positions 0.68 0.84 ho

ef Enler tha number of FTE positions that wil bo staffed with ollents, family momibene or careghors.
bY Indude any bHingual pay supplements {# applicable}. Round each amount to Ihe nearest whole doftar,

Abgual 1, 2006

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SANTA CLARA VALLEY HEALTH & HOSPITAL SYSTEM
MENTAL HEALTH DEPARTMENT ‘
COMMUNITY SERVICES & SUPPORT THREE YEAR EXPENDITURE PLAN

Bxlubit Sa - Budget Narrative
OA-Od Family /Caregiver Support
Punding Source: Outreach & Engagement
(37.5% of Total Cost}
County: Santa Clara ' Fiscal Year. 2007-08
Date: 12/23/05
4A, Expendjbures
1. Client, Family Member and Caregiver Support Expenditures
a Clothing, Food and Hygiene
b, Travel and Transportation
c. Housing
d. Employment and Education Supports
e, Other Support Expenditures
2 Personne] Expenditures
a. Current ExisHing Positions
b, New Additional Positions
¢. Employee Benefits
d, Total Personnel Expenditures
3. Operating ExpendItures
a. Professional Services
b, Translaion/ Interpreter Services
c Travel and Transportation
d. General Office Expenditures
¢. Rent, Utilities and Equipment
{. Medication and Medical Supports
g- Other Operating Expenses
h. Total Operating Expenditures
4. Program Management
a. Existing Program Management
b. New Program Management
¢. Tolal Program Management
5. Estimated Total Expenditures When Provider is Not Known = Full capacity of 25 slots $93,750
6. Total Proposed Program Budget 593,750

8. Revenues
1. Existing Revenues
a. MediCal (FFP Only)
b, Medicare/Paticnt Fees/ Patient Insurance
c. Realignment
d, State General Funds
e. County Funds
f. Grants
g- Other Revenue
h. Total Eedsting Revenue
2 New Revenues
a MediCal (FFP Only}
b, Medicare/ Patient Fees/ Patient Insurance
c. State General Funds
d_ Other Revenue
e. Total New Revenue
3. Total Revenue 0

C. One-Time C55 Funding Expenditures $56,250
D, Total Funding Requirements $150,000
E. Pervent of Total Funding Requirements for Full Service Partnerships

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Cross Cutting Programs

1.

Complete Exhibit 4 (as required under Section IV response). Using the
format found In Exhibit 4, please provide the following summary:

Please refer to Exhibit 4 above.

Please describe in detail the proposed program for which you are
requesting MHSA funding and how that program advances the goals of the
MHSA.

HO-01Housing

Early in the development of the plan the importance of stable housing was
recognized in the recovery of mental health consumers. Across all age
categories, the homeless and those at risk of homelessness were identified as
among the most in need in the unserved and underserved population. The cost
of housing in Santa Clara County is among the highest in the nation, causing a
burden to those far above the 200% of poverty group. As a result it was
recognized that a strong collaborative effort between the County and various
housing organizations would be essential in the design of a creative portfolio of
housing oplions.

During the process of outreach it became clear that consumers want “choice”
when it comes to supportive housing. Programs like Section 8 and Shelter-Plus
care, though effective, do not meet the degree of need in the County, where
some 7000 people are homeless at any time. African-Americans and Latinos are
overrepresented In this population (as they are in the Criminal Justice System
and Emergency Rooms). Therefore as the Plan addresses the homeless
mentaily il! community, 17 to 40 % of whom suffer some type of mental illness
(Santa Clara County Homeless Census and Survey, 2004), it will be necessary to
begin to narrow the disparity gap in mental health treatment.

Over the last year an interdisciplinary team was formed consisting of housing
and mental health experts including homeless advocates, homeless providers,
and the local housing authorities. The team has been working together to
determine the best options to provide the widest array and largest amount of
permanent supportive and transitional housing that can be provided within
budget constraints. More than 25% of the CSS and one-time funding resources
has been dedicated to supportive housing, and the Santa Clara Counly Office of
Affordable Housing has made a commitment fo match $2 million of our funding.
This approach is very collaborative and aggressive and will make a large impact
as toward the elimination of chronic homelessness in the County, particularly
among the mentally ill.

Santa Clara County Mental Health Services Act
Community Services and Supports Three Year Expenditure Plan
Orcernbar 30, 2605

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FH-01 Community & Family Outreach

During the planning process ethnic and cultural advisory committees were
created to inform the Department on the issues of cultural competency and client
focus. Advisory committees have been formed in the African-American, Chinese,
Latino, Vietnamese, Filipino, Native American, and African Immigrant and
Refugee communities that have met frequently and provided valuable advice to
the Department. Additional advisory committees representing the interests of
Consumers and Famllies, and the LGBTQ community will be formed in the near
future.

There are several ways that these committees will be engaged over the next 3
years of the CSS plan, particularly during the implementation phase when their
advice will be sought on funding applications.

We have also committed to building two new management positions for
Consumers and Family members, a Manager of Consumer Affairs, anda
Manager of Family Relations.. Together with the 30 or more new positions
throughout the system designed for consumers and family members, these
managers will help us to move toward a more consumer-centered model of
mental health recovery services. .

HC-01 Behavioral & Primary Care Partnership

Throughout the CSS planning process and across all age groups, the importance
of an improved interface with primary care services has been a priority. There is
a need for improved access to and coordination of basic health care for mental
health clients served in the current system as well as for those new clients
enrolled through MHSA programs. The African Advisory Committee suggested
the inctusion of primary care doctors at mental health clinics; an idea also
supported by the Institute of Medicine in their most recent “Crossing the Quality
Chasm” report. A survey done by Applied Survey Research on homelessness in
Santa Clara County (2004), indicated that 26.2% of homeless used Emergency
Rooms for medical needs. Partnership with primary care is essential if we are to
reduce frequent ER usage. The Mental Heaith Director will seek a partnership
with a local primary care provider using CSS one-time funds. It has also been
Proposed by many of our advisory committees that other types of healers be
incorporated into our mental health clinics to provide culturally competent, holistic
care addressing the mind, body and spirit of consumers.

EE-01 Education, Employment and Self-Sufficiency Behavioral Health
Recovery Services

All of the stakeholder groups recognized the importance of developing strong
collaborative partnerships with education and employment partners. Consumers

Santa Clara County Mental Health Servicas Act
Community Services and Supports Three Year Expenditure Plan
Cecermber 30, 2005

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in particular have consistently supported the belief that education and
amployment are critical to success in recovery. A primary reason that many
children of the homefess do not attend schoo! is based on parents concems
about Child Protective Sarvices (Homeless Survey, 2004) placing them in foster
care. The same survey found an estimated 39.3% of homeless had no high
school diploma (compared to 13.9% of the general population) and only 2.4%
had a B.A. (compared with 24.7% of the general population). A relationship with
local community colleges will be established to provide support for mentat health
consumers to obtain their high school diploma in an alternative high schoo!
setting (middle college), and then if they so desire, continue thelr education in
community college or university.

Another concem of consumers is the complexity of obtaining benefits, including
General Assistance (G.A.), SSI, SSDI etc. Additional complexity is added when
consumers choose to begin work or school on a full-time basis. Benefit
specialists will be added to our service teams to assist consumers who wish to
center thelr recovery on meaningful work and school.

LP-01 Behavioral Health Learning Partnership

The bedrock of system transformation depends on continuing the leaming
process that began in the planning phase of MHSA. The success in
implementing new strategies requires that training be provided in various healing
practices to consumers, family members, system partners, and clinical and non-
clinical staff. A training center will be funded that will include, technical support,
training and consultation to ensure ongoing education is available to all
stakeholders. Fidelity to tteatment models requires this level of attention to
continual education support.

AD-01 Administrative Support

Additional administrative support will be put in place to help steer the Department
in new directions including analysts, training managers, and new management
positions for consumers and family members. These positions will be essential
to assure the necessary infrastructure for program development, implementation
and outcome measurement.

ST-01 - Survivors of Torture Specialized Treatment and Support Services

As described earlier, it is estimated that up to 35,000 refugees reside in Santa
Clara County, and many are suffering from the physical and emotional traurna of
war and politically related torture and abuse in their native counties. These
consumers require specialized services from professional and paraprofessional
staff with training and experience in working with these victims. It is proposed
that one-time funding be utilized to develop this specialized service in the Bay
Area, using the expertise of current specialists in Santa Clara County. These

Santa Clara County Mental Heallh Services Aci
Community Services and Supports Thrae Year Expenditure Plan
December 30, 2005

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services will be offered to other Bay Area counties through cooperative
agreements. Services will include psychiatric and psycho-soclal assessment and
treatment, case management, iinkage to medical services, familly support and
education, and IInkage to self-help through the Refugee and Immigrant Forum
Ethnic Community Advisory Committee.

3. Describe any houstng or employment services to be provided.

As described above, housing and employment are fundamental to meeting the
wellness and recovery needs of our clients. We have already collaborated with
key system partners in housing and employment to develop models that will
include a variety of supportive housing models, education, and benefit and
employment counseling.

4. Please provide the average cost for each Full Service Partnership
participant Including all fund types and fund sources for each Full Service
Partnership proposed program.

N/A

5. Describe how the proposed program will advance the goals of recovery for
adults and older adults or resiliency for children and youth. Explain how
you will ensure the values of recovery and resiliency are promoted and
continually reinforced. ,

Choice is central to recovery and resiliency. Supportive housing choices, which
will include integrated substance abuse recovery, Single-Room-Occupancy, and
various forms of community living, supported through subsidies and master-
leases will provide the safe living situation that is essential to recovery.
Employment and education opportunities, living and wellness skills training and
benefits counseling complete the holistic treatment of the physical needs of
consumers and family members. We will continue to revisit treatment strategies,
curriculum, and celebrate success, In so doing the momentum of taking care of
the basic needs of consumers and providing a strong platform for them to reach
their own goals can be assured.

In particular, the immediate housing needs of consumers who are coming out of
mental health institutions, off the streets, out of prison or jail will be addressed in .
a way that will allow them to have a good chance to sustain independent living
and not retum to more restrictive environments.

6. If expanding an existing program or strategy, please describe your existing
program and how that will change under this proposal.

A variety of programs including “cooperatives” with the State Department of
Rehabilitation, homeless programs, board and cares etc., have been established

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that help meet the basic needs of our clients. The County's AB2034 type of
services will serve as the foundation on which expansion will take piace to serve
more clients. The challenge will be to figure out how te provide these basic
services to many more current and future cllents than current CSS funding can
support. Clinical practice is greatly enhanced when clients have a hope of
achieving their short and long-term goals that may include housing, employment
and education.

7. Describe which services and supports clients and/or family members will
provide. Indicate whether cllents and/or familles will actually run the
service or if they are participating as a part of a service program, team or
other entity.

Clients and family members, including new managers of Consumer Affairs and
Family Relations, r, together with Ethnic and Cultural Advisory Committees
(composed of clinica! staff, consumers and family members), will continue to lead
outreach and engagement of the community. The critical concems and focal
populations outlined in the CSS plan represent in large part the contribution of
these groups.

Many consumers and family members are the experts in navigating the current
system — social services, housing, transportation, mental health services,
benefits, employment, etc. Many of these individuals will be employed
throughout the system to work with their peers who need support in any of these
areas.

8. Describe in detail collaboration strategies with other stakeholders that
have been developed or will be Implemented for thls program and priority
population, including those with tribal organizations. Explain how they will
help Improve system services and outcomes for Individuals.

In terms of housing, a strong partnership with housing advocates throughout the
County has been developed. The team includes the affordable housing and
homeless coordinators for Santa Clara County and the City of San Jose, and the
Santa Clara County Collaborative on Affordable Housing, that is helping the team
understand how to align efforts to reduce homelessness among the mentally ill
with the effort to end chronic homelessness in the county. Several mambers of
the mental health management team participated in the countywide Homeless
Task Force that explored the extent of need and recommended strategles to -
alleviate it. More recently discussions have been started with the Corporation for
Supportive Housing to assist the Department in developing the optimal plan for
CSS funds dedicated to supportive housing which amount to more than 25% of
the County's CSS 3 year.

One of the key members of the Stakeholder Leadership team is a mental health
consumer and professor at a local community college. Santa Clara County's

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partnership with San Jose State University and San Jose City College is reflected
throughout this plan, particularly in terms of what is called Education-Based

Recovery. Intern programs at these and other institutions will be expanded,

Supporting the efforts of consumers and family members that wish to pursue

education, particularly in mental health related fields. We are committed to

offering education as an option to our consumers as part of their personal

recovery.

Similarly, the Plan includes a commitment to increasing employment
opportunities for our consumers. Certainly the partnerships with educational
institutions wili help in reaching that goal. There remains a continuing need to
develop stronger partnerships with employers in the community so that we can
address stigma, discrimination, benefits and other issues in the hiring of
consumers.

Finally, our Behavioral Health Leaming Partnership is the beginning of a
commitment to comprehensive information sharing and access among all of our
Stakeholders — clinicians, clerical staff, system partners, community members,
families, and consumers.

9. Discuss how the chosen program/strategles will be culturally competent
and meet the needs of cuiturally and linguisticaily diverse communities.
Describe how your program and strategies address the ethnic disparities
identified in Part II Section It of this plan and what specific strategies will be
usad to meet thelr needs. -

The CSS plan describes the early stages of developing an infrastructure to
ensure cultural competency in all practices. A number of Ethnic and Cuitural
Advisory Committees have already been established. and clinical partners are
being strongly urged to establish consumer and family advisory committees. The
Department will also be supporting the hiring of consumers and family members
throughout the system. Finally the extensive community input process that
began during our planning phase will continue throughout implementation.
Through these and other yet undiscovered strategles, the Department will remain
in an analytical leaming mode, always testing that the results address the critical
concerns and needs of the ethnic populations served by the Department.

10. Describe how services will be provided Jn a manner that is sensitive to
sexual orientation, gender-sensitive and reflect the differing psychologies
and needs of women and men, boys and girls.

In Santa Clara County there is an awareness and acknowledgement of the
diversity of our population which includes a large Gay, Lesblan, Transgender,
Transsexual, Queer and Questioning community. An informal partnership has
been formed with an LGBTQ community center. This will serve as a starting
paint from which to strengthen connections with similar organizations so that we

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can meet the needs of this special population. TAY in particular face enonnous
mental health Issues along with dual stigma as they seek to live freely and
happily with their choice of identity. We have not yet formed any specific
relationships with women’s group but we have informal ties with the League of
Women's Voters and will likely work with other organizations such as the YWCA,
Planned Parenthood, and others in the areas of women’s issues.

11. Describe how services will be used to meet the service needs for
individuals residing out-of-county.

N/A
12. If your county has selected one or more strategies to implement with MHSA
funds that are not Ilsted in Section IV, please describe those strategies in

detall including how they are transformational and how they will promote
the goals of the MHSA.

N/A

13. Please provide a timeline for this work plan, including all critica!
implementation dates.

County Positions

December -January Write job descriptions for new positions
February — March Human Resources approval, Board approval
April - May Recruitment and hiring of new positions

RFP

December-January Develop Request for Proposal service elements
February Publish Request for Proposals, Bidders Conference
March 30, 2006 Proposals Due

April 1-15, 2006 Panel Reviews

April 30, 2006 Notice of awards of RFP

May 1-15, 2006 Contract development

May 16, 2006 Prepare Board Transmittal

June 71, 2006 Contracts services begin

14. Develop Budget Requests: Exhibit 5 provides formats and instructions for
developing the Budget and Staffing Detall Worksheets and Budget
Narrative associated with each program work plan. Budgets and Staffing
Detall Worksheets and Budget Narratives are required for each program
work plan for which funds are belng requested.

a. Work plans and most budget/staffing worksheets are required at the
program levet. Consistent with the balance of the work plans, some

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services may not be part of a comprehensive program and should be
budgeted as a stand-alone program and work plan. An example of this is

Mobile Crisls. It is a countywide service avallable to a broad service

population and may not necessarily be part of another program for a

priority population.

b. Information regarding strategies is requested throughout the Program and
Expenditure Plan Requirements. Strategies are approaches to provide a
program/service. Multiple strategies may be used as an approach for a
single service. No budget detail is required at the strategy level. Examples
of strategies Include self-directed care plans, integrated assessments for
co-occurring disorders, on-site services in child welfare shelters, and self-
help support. ’

15. A Quarterly Progress Report (Exhibit 6) is required to provide estimated
Population to be served. This form will be required to be updated quarterly
specifying actual population served. Additionally, a Cash Balance Quarterly
Report (Exhibit 7) is required to provide information about the cash flow
activity and remaining cash on hand. All progress reports are to be
submitted to the DMH County Operations analyst assigned to the County
within 30 days after the close of the quarter.

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